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                    IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO

LOZANO ET AL.,


      Plaintiffs,

v.                                          Case No. 2:22-cv-03089

JOHN DOES I-X; JANE DOES I-X; ABC
PARTNERSHIPS I-X; DEF LIMITED LIABILITY
COMPANIES I-X; AND XYZ CORPORATIONS;

      Defendants.


                             PLAINTIFFS’ EXHIBIT D
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                 IN THE UNITED STATES DISTRICT COURT
           WESTERN DISTRICT OF WASHINGTON – SEATTLE DIVISION


 LOZANO, et al.,                            )
                                            )
        Plaintiffs,                         )
                                            )
 v.                                         )
                                            )
 DOE, et al.,                               )
                                            )
        Defendants                          )


             MOTION OF STEFANIA JOANNE RAMOS BIRCH ESQ.
      TO QUASH THIRD-PARTY SUBPOENA AND FOR A PROTECTIVE ORDER

       Pursuant to Federal Rule of Civil Procedure 45(d)(3), non-party, Stefania J. Ramos Birch,

Esq. (“Mrs. Ramos”), hereby moves to quash the subpoena Plaintiffs Alexandra Lozano (“Plaintiff

Lozano”), Angelyne Lisinski (“Plaintiff Lisinski”), and Giulia Fantacci (“Plaintiff Fantacci”)

served upon her on September 16, 2022 which seeks her deposition and the production of

documents in Lozano, et al., v. Doe, et al., 2:22-cv-03089-ALM-KAJ, pending in the United States

District Court for the Southern District of Ohio (Columbus) as the Ohio forum lacks personal

jurisdiction over her; or, in the alternative, because the subpoena is overly broad, unduly

burdensome, lacks proportionality, seeks information not relevant to the claims in the Plaintiffs’

Complaint, and non-party document discovery is not permitted by the order granting expedited

discovery issued by the United States District Court for the Southern District of Ohio.

Alternatively, Mrs. Ramos requests that this Court issue a protective order pursuant to the Fed. R.

Civ. P. 26(c)(1) limiting the deposition and document discovery to the issue of personal

jurisdiction, i.e., her contacts with Ohio and Plaintiff Lisinski, the sole Ohio Plaintiff, and

excluding from discovery the catchphrase “arreglar sin salir”. Mrs. Ramos further requests a

protective order to limit discovery to a deposition only to determine the extent of her knowledge

regarding the defamatory campaign alleged in the Complaint and to her knowledge of the

                                                1
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defamers’ identities. She also requests a protective order to stay discovery pending the outcome of

this motion to quash pursuant to Fed. R. Civ. P. 26(c)(1). If so ordered to comply with the

subpoena, Mrs. Ramos requests a 90-day extension due to her advanced pregnancy, imminent due

date, and pre-planned maternity leave.

       A copy of the subpoena served upon Mrs. Ramos is attached as Exhibit A; Mrs. Ramos’

declaration is attached as Exhibit B; the Plaintiffs’ Motion for Leave to Serve Third Party

Subpoenas Prior to a Rule 26(f) Conference is attached as Exhibit C; the order granting leave to

serve third party subpoenas is attached as Exhibit D; a copy of the initial Complaint is attached as

Exhibit E; and a copy of the letter entitled “Immediate Action Required – Removal of Defamatory

Posts on Facebook” dated March 11, 2021 is attached as Exhibit F. Mrs. Ramos respectfully

requests the Court’s speedy determination of this matter to provide clarity for all concerned

regarding whether the subpoena is invalid and/or should be quashed.

                               MEMORANDUM IN SUPPORT

I.     BACKGROUND AND INTRODUCTION

       Mrs. Ramos is an immigration attorney who has at all relevant times resided in Washington

State and has been licensed in the States of Washington and California. She owns and operates a

solo immigration law practice in Lynnwood, Washington where she primarily works with the

immigrant community offering legal services in the areas of deportation defense, family-based

petitions, asylum, citizenship, residency, and humanitarian benefits such as protection under the

Violence Against Women Act (“VAWA”), U-Nonimmigrant Status, and T-Nonimmigrant Status.

       As detailed in the attached declaration, Mrs. Ramos and Plaintiff Lozano have law offices

in the same general area and have shared mutual clients in common. In approximately February of

2021, Mrs. Ramos posted a comment on a thread in a private, attorney-only Facebook group to
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voice her concerns regarding ethical issues related to Plaintiff Lozano’s practice of immigration

law in the State of Washington. Previously, a client consulted with Mrs. Ramos for a second

opinion after first consulting with Plaintiff Lozano, and indicated that Plaintiff Lozano encouraged

him/her to retain her for legal services in the amount of $12,000 to apply for an immigration benefit

under VAWA. In order to qualify under VAWA, there must be a finding of battery or extreme

cruelty by a U.S. citizen or lawful permanent resident family member. When the client consulted

with Mrs. Ramos, s/he unequivocally indicated that s/he was not subjected to battery or extreme

cruelty by their U.S. citizen or lawful permanent resident family member and yet she was

encouraged by Plaintiff Lozano to mislead the government in an application for VAWA benefits.

Thus, Mrs. Ramos determined that her client was ineligible for VAWA as previously claimed by

Plaintiff Lozano and that Plaintiff Lozano was encouraging him/her to mislead the government for

financial benefit ($12,000). Her comment on the Facebook thread indicated her concerns to a

private group of immigration law practitioners.

       On the aforementioned Facebook thread, numerous other immigration attorneys posted

similar client experiences with Plaintiff Lozano and expressed serious concerns over her business

practices as well as deceptive tactics to retain clients. For context, most non-immigrants who enter

the U.S. without inspection must leave the U.S. in order to regularize their immigration status,

save for a limited number of exceptions. However, Plaintiff Lozano uses the tagline “arreglar sin

salir” (that she has since trademarked) meaning “fix without leaving” heavily in her social media

marketing, as though she can help most people to regularize their status without having to follow

the normal process of leaving the U.S. She relies on a narrow exception to the general rule based

on VAWA (which requires a finding of battery or extreme cruelty by a U.S. citizen or lawful

permanent resident family member). Plaintiff Lozano’s business practices and social media
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marketing has been highly controversial within the immigration legal community and resulted in

immigration practitioners discussing her practices on the aforementioned Facebook thread.

        On March 11, 2021, Plaintiff Lozano, through counsel unauthorized to practice law in the

State of Washington, sent a letter to Mrs. Ramos via email entitled “Immediate Action Required –

Removal of Defamatory Posts on Facebook” (essentially a cease-and-desist demand), demanding

the removal of the allegedly “defamatory” comment Mrs. Ramos left on the Facebook thread

within 5 calendar days or threatened the initiation of litigation against her. Counsel for Plaintiff

Lozano sent similar cease-and-desist emails to approximately 25-301 attorneys located all over the

United States on or around the same timeframe. Thereafter, the Facebook administrator of the

private group almost immediately removed the thread in its entirety, and Plaintiff Lozano initiated

no legal proceedings against Mrs. Ramos. The matter appeared to be resolved.

        On August 10, 2022, Plaintiffs filed a Complaint against numerous unidentified

Defendants in the Southern District of Ohio (Columbus), where only Plaintiff Lisinski resides and

is licensed to practice law. (As the Defendants are unidentified, the residency of the Defendants is

presently unknown). Concurrently with the filing of the Complaint, Plaintiffs filed a Motion for

Leave to Serve Third Party Subpoenas Prior to a Rule 26(f) Conference, which was granted by the

court on August 12, 2022.

        On September 16, 2022, Mrs. Ramos, a non-party to this litigation, was served with a

subpoena to appear for deposition and to produce documents regarding her text messages, e-mails,

and social media for the Plaintiffs’ names, any variations thereof, their law firm names, and the




1
  This is Mrs. Ramos’ best approximate guess as to how many cease-and-desist letters were sent to immigration
attorneys across the U.S.
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phrase “arreglar sin salir”2 from June 2020 to present. The subpoena requests document discovery

and deposition testimony on October 7, 2022 at 10:00 am at Plaintiff Lozano’s office in Tukwila,

Washington.

         On September 16, 2022, Mrs. Ramos informed Plaintiffs’ counsel of her advanced

pregnancy and imminent delivery date. Plaintiffs’ counsel verbally offered a discovery extension

until November or December, which was appreciated. On September 21, 2022, Plaintiffs’ counsel

then requested via email document discovery by October 14, 2022 and a Zoom deposition during

the third or fourth week of September. On September 23, 2022, Mrs. Ramos responded via email

with correspondence from her medical provider indicating that her due date is October 17, 2022,

she is having pregnancy-related medical complications, and therefore cannot be expected to be in

court or sit for a deposition at any point after October 1, 2022. She indicated that her earliest

availability would be December. On September 27, 2022, Plaintiffs’ counsel requested document

production and deposition on December 12.

         In response to the non-party subpoena, Mrs. Ramos has filed the instant Motion to Quash.

II.      TIMELINESS

         “[T]he nonparty served with the subpoena duces tecum may make objections . . . within 14

days after service or before the time for compliance, if less than 14 days.” Moon v. SCP Pool

Corp., 232 F.R.D. 633, 636 (C.D. Cal. 2005).

         Mrs. Ramos was served the subpoena at issue on September 16, 2022 and timely filed the

instant Motion to Quash within the required 14-day period. Thus, the instant motion is timely filed.

III.     VENUE



2 In addition, we note that both the Plaintiffs’ motion seeking authorization to serve discovery upon third parties and
the order of the Magistrate Judge granting that motion relied exclusively on case law supporting the issuance of
subpoenas to non-party internet service or platform providers as opposed to individual users.
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       Fed. R. Civ. P. 45 states that “the court for the district where compliance is required” has

primary authority over all subpoena-related motions. Because Mrs. Ramos is located in Lynnwood,

Washington, and compliance with the subpoena is required in Tukwila, Washington (at Plaintiff

Lozano’s office), this Court is the proper venue for the instant motion.

IV.    SUMMARY OF RELEVANT LAW

       A.      Personal Jurisdiction

       Since International Shoe Co. v. Washington, the hallmark principle of due process has been

that a court may exercise jurisdiction over a person or organization only after it has been

established that the person or entity possess “minimum contacts” within the forum “such that

maintenance of the suit does not offend ‘traditional notions of fair play and substantial justice.’”

326 U.S. 310, 316, 66 S.Ct. 154, 90 L. Ed. 95 (1945) (quoting Milliken v. Meyer, 311 U.S. 457,

463, 61 S.Ct. 339, 85 L.Ed. 278 (1940)).

       A district court must have personal jurisdiction over a nonparty in order to compel it to

comply with a valid discovery request under Fed. R. Civ. P. 45. See, e.g., Gucci Am. v. Bank of

China, 768 F.3d 122, 141 & n.20 (2d Cir. 2014); In re Application to Enforce Admin. Subpoenas

Duces Tecum of the S.E.C. v. Knowles, 87 F.3d 413, 418 (10th Cir. 1996) (requiring that a

Bahamian nonparty have minimum contacts with the United States before holding it subject to an

administrative agency subpoena); Ariel v. Jones, 693 F.2d 1058, 1061 (11th Cir. 1982) (upholding

the quashing of a subpoena “[i]n view of the minimal contacts of the [nonparty] with [the forum]”);

Elder–Beerman Stores Corp. v. Federated Dep’t Stores, Inc., 45 F.R.D. 515, 516 (S.D.N.Y.

1968) (quashing a document subpoena based on complete lack of contacts with the forum); see

also 16 Moore et al., Moore's Federal Practice § 108.125, at 108–48 (3d ed. 2008) (“A nonparty

witness cannot be compelled to testify at a trial, hearing, or deposition unless the witness is subject
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to the personal jurisdiction of the court.”); Gary B. Born, International Civil Litigation in United

States Courts 865 (3d ed. 1996) (“[A] non-party witness can only be compelled to produce

documents if it is subject to the court’s personal jurisdiction.”). Specific or “case-linked”

jurisdiction “depends on an affiliation between the forum and the underlying controversy (i.e., an

activity or an occurrence that takes place in the forum State and is therefore subject to the State’s

regulation).” Walden v. Fiore, 571 U.S. 277, 134 S. Ct. 1115, 1121 n.6, 188 L. Ed. 2d 12 (2014)

(internal quotation omitted); Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1142 (9th Cir. 2017).

       Rule 4 of the Fed. R. Civ. P. directs federal courts to follow the pertinent personal

jurisdiction laws of the state courts where the federal courts are located. Here, the pertinent

personal jurisdiction law to the underlying action would be Ohio Revised Code Section 2307.382.

The Ohio State long-arm statute is pertinent, here, because Mrs. Ramos is a foreign nonparty to

this action. Ohio Revised Code Section 2307.382 states:

       (A) A court may exercise personal jurisdiction over a person who acts directly or by an
           agent, as to cause an action arising from a person’s:

           (1) Transacting any business in this state;
           (2) Contracting to supply services or goods in this state;
           (3) Causing tortious injury by and act or omission in this state;
           (4) Causing tortious injury in this state by an act or omission outside this state if the
               person regularly does or solicits business, or engages in any other persistent course
               of conduct, or derives substantial revenue from goods used or consumed or services
               rendered in this state;
           (5) Causing injury in this state to any person by breach of warranty expressly or
               impliedly made in the sale of goods outside this state when the person might
               reasonably have expected such person to use, consume, or be affected by the goods
               in this state, provided that the person also regularly does or solicits business, or
               engages in any other persistent source of conduct, or derives substantial revenue
               from goods used or consumed or services rendered in this state;
           (6) Causing tortious injury in this state to any person by any act outside this state
               committed with the purpose of injuring persons, when the person might reasonably
               have expected that some person would be injured thereby in this state;
           (7) Causing tortious injury to any person by a criminal act, any element of which takes
               place in this state, which the person commits or in the commission of which the
               person is guilty of complicity;
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             (8) Having an interest in, using, or possessing real property in this state; and
             (9) Contracting to insure any person, property, or risk located within this state at the
                 time of contracting.

        (B) For purposes of this section, a person who enters into an agreement, as a principal, with
a sales representative for the solicitation of orders in this state is transacting business in this state.
As used in this division, “principal” and “sales representative” have the same meanings as in
section 1335.11 of the Revised Code.
        (C) In addition to a court’s exercise of personal jurisdiction under division (A) of this
section, a court may exercise personal jurisdiction over a person on any basis consistent with the
Ohio Constitution and the United States Constitution.

        To determine whether Due Process rights would be violated by the exercise of personal

jurisdiction over a nonparty by the United States District Court for the Southern District of Ohio,

the Sixth Circuit evaluates three factors: (1) whether the [nonparty] has purposefully availed

themselves of the privilege of acting or causing a consequence in the forum state; (2) whether the

cause of action arises from the [nonparty’s] activities in the forum state; and (3) whether those

acts, or consequences caused by those acts, have a substantial enough connection to the forum

state to make it reasonable to exercise personal jurisdiction over [the nonparty]. Southern Machin

Co. v. Mohasco Industries, Inc., 401 F.2d 374, 381 (6th Cir. 1968). If just one of these criteria is

missing, it is sufficient to prevent the exercise of personal jurisdiction. LAK, Inc. v. Deer Creek

Enterprises, 885 F.2d 1293 (6th Cir. 1989).

        B.      The Scope of Discovery

        Fed. R. Civ. P. 26(b)(1) provides that “[p]arties may obtain discovery regarding any non-

privileged matter that is relevant to any party’s claim or defense and proportional to the needs of

the case, considering the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the proposed discovery
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outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). While information need not be admissible

to be discoverable, it must be proportional and relevant to any claim or defense. Id.

       The Court is vested with broad discretion to manage discovery. Dichter-Mad Family

Partners, LLP v. U.S., 709 F.3d 749, 751 (9th Cir. 2013) (per curiam); Hunt v. Cnty. of Orange,

672 F.3d 606, 616 (9th Cir. 2012); Surfvivor Media, Inc. v. Survivor Prods., 406 F.3d 625, 635

(9th Cir. 2005); Hallett v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002). Under Rule 26(c)(1), a party

from whom discovery is sought may move for a protective order. Fed. R. Civ. P. 26(c)(1). For

good cause shown, courts may issue a protective order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense. See Id. “[B]road discretion is vested in

the trial court to permit or deny discovery.” Hallett v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002);

see also Crawford-El v. Britton, 523 U.S. 574, 598, 118 S. Ct. 1584, 140 L. Ed. 2d 759 (1998). A

protective order may forbid discovery or specify terms for discovery. Fed. R. Civ. P.

26(c)(1)(A),(B). The 2015 amendments to the discovery rules are meant to curb the culture of

scorched earth litigation tactics by emphasizing the importance of ensuring that the discovery

process “provide[s] parties with efficient access to what is needed to prove a claim or defense, but

eliminate unnecessary or wasteful discovery.” Roberts v. Clark County School Dist., 312 F.R.D.

594, 603-04 (D. Nev. 2016).

       Rule 26’s requirement of “good cause” to support a protective order places the burden upon

the movant to show the necessity of its issuance; the Court looks to whether the movant has set

forth particular and specific demonstrations of fact, as distinguished from stereotyped and

conclusory statements. See Gulf Oil Co. v. Bernard, 452 U.S. 89, 102 n.16, 101 S. Ct. 2193, 68 L.

Ed. 2d 693 (1981).
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       Most significantly, Rule 26(b)(1) provides, in pertinent part, that discovery must be

“proportional to the needs of the case[.]” A party seeking discovery must comply with Rule

26(b)(1)’s proportionality limits on discovery requests and is subject to Rule 26(g)(1)(B)’s

requirement to certify that the discovery request is “(i) consistent with these rules . . . ; (ii) not

interposed for any improper purpose, such as to harass…; and (iii) neither unreasonable nor unduly

burdensome or expensive, considering the needs of the case, prior discovery in the case, the amount

in controversy, and the importance of the issues at stake in the action.” Fed. R. Civ. P. 26(g)(1)(B).

“Rule 26(b) has never been a license to engage in an unwieldy, burdensome, and speculative

fishing expedition.” United States ex rel. Carter v. Bridgepoint Educ., Inc., 305 F.R.D. 225, 237

(S.D. Cal. 2015) (citation omitted). While relevancy in the discovery context is broader than in the

trial context, district courts need not condone the use of discovery to engage in fishing expeditions.

See, e.g., Rivera v. NIBCO, Inc., 364 F.3d 1057, 1072 (9th Cir. 2004).

       If a party resists discovery on the grounds of proportionality, it bears the burden of making

a specific objection and showing that the discovery fails Rule 26(b)’s proportionality calculation

by coming forward with specific information to address the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit. Fed. R. Civ. P. 26(b)(1). Once the

resisting party makes such a showing, then the requesting party is required to make its own

showing in regard to relevance or proportionality. Carr v. State Farm Mut. Auto. Insurance Co.,

312 F.R.D. 459, 468-69 (N.D.Tex. 2015). “Once the person subpoenaed objects to the subpoena .

. . the party seeking discovery must obtain a court order directing compliance.” Pennwalt Corp. v.

Durand-Wayland, Inc., 708 F.2d 492, 494 n. 5 (9th Cir.1983).
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       While the discovery rules are accorded broad and liberal treatment, discovery does have

“‘ultimate and necessary boundaries.’” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351

(1978) (quoting Hickman v. Taylor, 329 U.S. 495, 507 (1947)). Rule 26(b)(2)(C) mandates that

the Court limit the frequency or extent of discovery otherwise allowed, if it determines: “(i) the

discovery sought is unreasonably cumulative or duplicative, or can be obtained from some other

source that is more convenient, less burdensome, or less expensive; (ii) the party seeking discovery

has had ample opportunity to obtain the information by discovery in the action; or (iii) the proposed

discovery is outside the scope permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C).

       Federal Rules of Civil Procedure 26 and 45 govern discovery from non-parties. Discovery

may also be obtained from non-parties pursuant to a subpoena issued and served pursuant to

Federal Rule of Civil Procedure 45. Fed. R. Civ. P. 45(b)(1). The Rule 26 relevancy standard also

applies to subpoenas to non-parties. Beinin v. Ctr. for Study of Popular Culture, No. 06-cv-02298

JW (RS), 2007 U.S. Dist. LEXIS 22518, 2007 WL 832962, at *2 (N.D. Cal. Mar. 16, 2007). Rule

45, in turn, provides that a party may command a non-party to testify at a deposition and “produce

designated documents, electronically stored information, or tangible things in that person’s

possession, custody, or control.” Fed. R. Civ. P. 45(a)(1)(A)(iii).

       Both Rules 45 and 26 authorize the Court to modify a subpoena duces tecum when its

scope exceeds the boundaries of permissible discovery or otherwise violates the parameters of

Rule 45. Where discovery is requested from non-parties, more stringent restrictions should be

enforced. The Ninth Circuit has a long-standing policy of affording extra protection to non-parties

subject to discovery requests. See High Tech Med. Instr., Inc. v. New Image Ind., Inc., 161 F.R.D.

86, 88 (N.D. Cal. 1995) (awarding sanctions against party who failed to avoid burden to non-

party); see, e.g., Century Sur. Co. v. Master Design Drywall, Inc., No. 09cv280-LAB-AJB, 2010
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U.S. Dist. LEXIS 53831, 2010 WL 2231890, at *1 (S.D. Cal. June 2, 2010) (“Underlying the

protections of Rule 45 is the recognition that the word ‘non-party’ serves as a constant reminder

of the reasons for the limitations that characterize ‘third-party’ discovery.”) (citations and

quotations omitted); Kim v. NuVasive, Inc., No. 11cv1370-DMS-NLS, 2011 U.S. Dist. LEXIS

96878, 2011 WL 3844106, *2 (S.D. Cal. Aug. 29, 2011) (“Non-parties deserve extra protection

from the courts”). Thus, the subpoena should be tailored to request only information reasonably

necessary to address specific issues in the case. See Mattel, Inc. v. Walking Mountain Productions,

353 F.3d 792, 813 (9th Cir. 2003).

       Rule 45 provides additional protections to non-parties; specifically, the party issuing a

subpoena to a non-party “must take reasonable steps to avoid imposing undue burden or expense

on a person subject to the subpoena.” Fed. R. Civ. P. 45(d)(1). In that regard, a subpoena must

give a prospective deponent reasonable notice, and the court must quash or modify a subpoena

when it “fails to allow a reasonable time to comply.” Fed. R. Civ. P. 45(d)(3); see Nalco Co. v.

Turner Designs, Inc., No. 13-cv-02727 NC, 2014 U.S. Dist. LEXIS 45669, 2014 WL 1311571, at

*1 (N.D. Cal. Mar. 31, 2014) (denying motion to compel because subpoenaing party failed to take

reasonable steps to avoid imposing undue burden). In turn, the Court “must protect a person who

is neither a party nor a party’s officer from significant expense resulting from compliance.” Fed.

R. Civ. P. 45(d)(2)(B)(ii).

       The party who moves to quash a subpoena has the “burden of persuasion” under Rule

45(d)(3) to demonstrate that compliance would impose undue burden or expense. To determine

whether the subpoena presents an undue burden, the Ninth Circuit considers the following factors:

(1) the burden imposed on the party subject to the subpoena by the discovery request; (2) the

relevance of the information sought to the claims or defenses at issue; (3) the breadth of the
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discovery request; and (4) the litigant’s need for the information. Malibu Media, LLC v. Doe, No.

16cv444-GPC-BGS, 2016 U.S. Dist. LEXIS 168657, 2016 WL 7098807, at *1 (S.D. Cal. Dec. 6,

2016) (quoting Liberty Media Holdings, LLC v. Does, No. 11cv575-MMA-NLS, 2012 U.S. Dist.

LEXIS 24232, 2012 WL 628309, at *2 (S.D. Cal. Feb. 24, 2012). Whether a burdensome subpoena

is reasonable “must be determined according to the facts of the case,” such as the party’s need for

the documents and the nature and importance of the litigation.” Linder v. Dep’t of Def., 133 F.3d

17, 24, 328 U.S. App. D.C. 154 (D.C.C. 1998). (citation and internal quotation marks omitted).

The “undue burden” test also requires the Court to be “generally sensitive to the costs imposed on

third-parties.” In re Micron Tech., Inc. Sec. Litig., 264 F.R.D. 7, 9 (D.D.C. 2010) (citation and

internal quotation marks omitted).

V.     ARGUMENT

       A.      The Southern District of Ohio Lacks Personal Jurisdiction Over Mrs. Ramos.

       As discussed above, the Southern District of Ohio may not exercise personal jurisdiction

over a nonparty, such as Mrs. Ramos, unless: (1) the nonparty falls within the scope of the long-

arm statute of Ohio, and (2) the court’s exercise of personal jurisdiction would not violate the Due

Process Clause of the United States Constitution.

       Here, an exercise of personal jurisdiction over Mrs. Ramos would fail both the Ohio long-

arm statute and the Sixth Circuit’s three-factor test to determine whether her Due Process rights

would be violated as a non-party. The Ohio long-arm statute requires that the cause of action

“arise” from a person’s contacts with the State of Ohio. Plaintiffs do not claim that any of their

alleged causes of action arise from Mrs. Ramos’ contacts; indeed, she is not a defendant. Mrs.

Ramos has sworn in her declaration that she has at all relevant times resided in Washington State,

has been licensed in the States of Washington and California, and that she has no contact with
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Ohio or with Plaintiff Lisinski (the sole Ohio Plaintiff) relevant to this case. Thus, the Ohio long-

arm statute does not provide a basis for the exercise of personal jurisdiction over her in this matter.

        In addition, Mrs. Ramos’ contacts with the State of Ohio fail the Sixth Circuit test, as she

has not acted or caused any consequence in Ohio, the cause of action does not arise from her

activities in Ohio, and her contact with Ohio is not a substantial enough connection to Ohio to

make it reasonable for the Southern District of Ohio to exercise personal jurisdiction over her for

purposes of the issuance of the subpoena.

        In conclusion, neither of the two legal bases used to authorize federal courts in Ohio to

exercise jurisdiction over subpoenaed nonparties in Washington are sufficiently satisfied to justify

the subpoena ordered on Mrs. Ramos. As a result, this Court should quash the Plaintiffs’ subpoena

for lack of personal jurisdiction; or, alternatively, issue a protective order limiting deposition and

document discovery to the issue of personal jurisdiction, i.e., Mrs. Ramos’ contacts with Ohio and

Plaintiff Lisinski, the sole Ohio Plaintiff, and excluding from discovery the catchphrase “arreglar

sin salir”.

    B. The Subpoena Should Be Quashed as it is Overly Broad, Lacks Proportionality, is
       Unduly Burdensome, Seeks Information Not Relevant to the Claims in the Plaintiffs’
       Complaint, and Document Discovery is Not Permitted by Court Order.

        Rule 26(f) dictates that a party generally may not seek discovery “before the parties have

conferred as required by Rule 26(f),” except in limited circumstances, including when authorized

by court order for good cause. Red. R. Civ. P. 26(d). Plaintiffs’ motion for leave to serve third

party subpoenas prior to a Rule 26(f) Conference was granted by the United States District Court

for the Southern District of Ohio, which relied on caselaw that exclusively supports the issuance

of subpoenas to third-party platforms and internet service providers. The court found that there

was “good cause” for expedited discovery as: Plaintiffs asserted an unfair competition claim
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against Defendants for misappropriation of their trademarks; “only the internet platforms on which

the alleged conduct occurred can identify Defendants”; and that the scope of the requested

discovery is sufficiently narrow as Plaintiffs’ request from the internet platforms only the

identifying information of users who reported their content, left false reviews, and created imposter

accounts, and they wish to engage in depositions of individuals suspected of being involved in the

campaign, but only to determine the “extent of those individuals’ knowledge regarding the

defamatory campaign, and their knowledge of the defamers’ identities.”

       Given that the Plaintiffs claim that their goal from expedited discovery is to identify the

John Doe defendants, those identities are best obtained from social media platforms and third-

party internet service providers. The court has acknowledged that “only the internet platforms on

which the alleged conduct occurred can identify Defendants”. Therefore, the information that

Plaintiffs seek is best found through the discovery process with the social media platforms and

third-party internet service providers, not through non-party individuals like Mrs. Ramos.

       In her declaration, Mrs. Ramos indicates that she has not engaged in any of the conduct

alleged in the Complaint (online harassment, reporting of social media posts, tortious interference

with business relations, intellectual property infringement, etc.) against any of the Plaintiffs; she

has no knowledge of the person, persons, or entities purportedly responsible for the conduct

alleged in the Complaint; and she has no connection whatsoever to the conduct alleged in the

Complaint nor to the legal issues specified therein. Therefore, the only means by which the

Plaintiffs may identify the John Doe defendants is through the discovery process with the social

media platforms and third-party internet service providers.

       Moreover, the United States District Court for the Southern District of Ohio granted

Plaintiffs leave to engage in limited scope discovery related to “depositions of individuals
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suspected of being involved in the campaign but only to determine the ‘extent of those individuals’

knowledge regarding the defamatory campaign, and their knowledge of the defamers’ identities.”

(emphasis added). In the order, the court expressly did not grant document discovery by Plaintiffs

for those individuals. If the court had intended to grant document discovery and depositions, it

would have indicated as such in the order. However, the court did not mince words, and granted

limited scope discovery related to depositions only. For this reason, Plaintiffs’ subpoena to Mrs.

Ramos requesting her to appear for deposition and to produce documents regarding her text

messages, e-mails, and social media for the Plaintiffs’ names, any variations thereof, their law firm

names, and the phrase “arreglar sin salir” from June 2020 to present is therefore overbroad, lacks

proportionality, is unduly burdensome, seeks information that is not relevant to the underlying

complaint, and is contrary to the limited scope discovery granted by the United States District

Court for the Southern District of Ohio.

       While the subpoena should be tailored to request only information reasonably necessary to

address specific issues in the case, Plaintiffs seek impermissible document discovery that covers

an arbitrary 28-month period without providing any specifying criteria as to what documents they

are looking for and how those documents relate to the identities of the alleged John Doe

Defendants. See Mattel, Inc. v. Walking Mountain Productions, 353 F.3d 792, 813 (9th Cir. 2003).

       Furthermore, Plaintiffs’ overly broad document discovery subpoena to Mrs. Ramos does

not serve a legitimate discovery purpose as the identities of the defendants may be ascertained by

the discovery process with the social media platforms and third-party internet service providers.

Here, Plaintiffs are attempting a “fishing expedition” through the discovery process that is

impermissible under Rule 26(b). United States ex rel. Carter v. Bridgepoint Educ., Inc., 305 F.R.D.

225, 237 (S.D. Cal. 2015) (“Rule 26(b) has never been a license to engage in an unwieldy,
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burdensome, and speculative fishing expedition.”) Given the cease-and-desist letter that Mrs.

Ramos received from Plaintiff Lozano in March of 2021 and now the subpoena at issue in the

instant motion, it is evident that Plaintiffs are using the discovery process as retribution against

Mrs. Ramos, to harass her, as well as to cause her undue burden and expense.

       As a non-party to this litigation, Plaintiffs’ counsel “must take reasonable steps to avoid

imposing undue burden or expense” on Mrs. Ramos, which has not been done here given the wide

breadth of the document discovery requested in the subpoena. See Fed. R. Civ. P. 45(d)(1).

Consistent with Ninth Circuit precedent, Mrs. Ramos, as a non-party, deserves extra protection by

this Court by quashing the subpoena, or, alternatively, issuing a protective order.

VI.    CONCLUSION

       WHEREFORE, Stefania J. Ramos Birch, Esq., pro se, respectfully requests that this Court

enter an order quashing the third party subpoena issued to her in Lozano, et al., v. Doe, et al., 2:22-

cv-03089-ALM-KAJ, based on lack of personal jurisdiction; or, in the alternative, requests that

this Court enter a protective order limiting her deposition testimony and discovery in this matter

to the issue of her contacts with Ohio/personal jurisdiction (i.e., topics and documents related to

the sole Ohio Plaintiff, Angelyne Lisinski, and expressly excluding the phrase “arreglar sin salir”);

or, in the alternative, requests a protective order to limit discovery to a deposition only to determine

the extent of her knowledge regarding the defamatory campaign alleged in the Complaint and to

her knowledge of the defamers’ identities; or, if so ordered to comply with the subpoena, she

requests a 90-day extension due to her advanced pregnancy, imminent due date, and pre-planned

maternity leave.
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Respectfully submitted on this 30th day of September 2022,



s// Stefania J. Ramos Birch Esq.
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                   IN THE UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF WASHINGTON – SEATTLE DIVISION

                                               )
 LOZANO, et al.,                               )
                                               )
          Plaintiffs,                          )
                                               )
 v.                                            )
                                               )
 DOE, et al.,                                  )
                                               )
          Defendants


              DECLARATION OF STEFANIA JOANNE RAMOS BIRCH ESQ.
           IN SUPPORT OF THIRD-PARTY’S MOTION TO QUASH SUBPOENA

I, Stefania Joanne Ramos Birch Esq., declare:

      1. My name is Stefania Joanne Ramos Birch, and I am an attorney residing in the State of

         Washington, licensed in the States of Washington and California. I am an immigration law

         practitioner who owns and operates a solo practice located in Lynnwood, Washington. I

         primarily work with the immigrant community offering legal services in the areas of

         deportation defense, family-based petitions, asylum, citizenship, residency, and

         humanitarian benefits such as protection under the Violence Against Women Act

         (“VAWA”), U-Nonimmigrant Status, and T-Nonimmigrant Status.

      2. The underlying Complaint was filed on August 10, 2022 in the Southern District of Ohio,

         Lozano, et al. v. Doe, et al., 2:22-cv-03089.

      3. Plaintiffs in the underlying matter are: Alexandra Lozano (“Plaintiff Lozano”), an

         immigration attorney licensed in and residing in the State of Washington; Angelyne

         Lisinski (“Plaintiff Lisinski”), an immigration attorney licensed in and residing in the State
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       of Ohio; and Gulia Fantacci (“Plaintiff Fantacci”), an immigration attorney licensed in and

       residing in the State of Florida.

   4. Former Plaintiff Lauren Eagan, an immigration attorney licensed in the District of

       Columbia and residing in the State of Virginia, filed a Motion to Withdraw as a Plaintiff

       from the litigation on August 23, 2022, which was granted on August 24, 2022.

   5. On August 10, 2022, concurrent with the filing of the Complaint, Plaintiffs filed a Motion

       for Leave to Serve Third Party Subpoenas prior to a Rule 26(f) conference.

   6. On August 12, 2022, United States Magistrate Judge Kimberly A. Jolson granted Plaintiffs’

       motion.

   7. On September 16, 2022, I was served with a third-party subpoena for deposition and

       document production in this matter with a deadline of October 7, 2022.

   8. The subpoena requests documents and/or communications, including text messages, e-

       mails, and social media posts referring or related to Plaintiff Lozano and/or Alexandra

       Lozano Immigration Law, Plaintiff Lisinski and/or Lisinski Law, Plaintiff Fantacci and/or

       DF Immigration, and the phrase “arreglar sin salir” from June 2020 to present.

   9. As I am not a party to the complaint, I had no notice of the suit prior to September 16,

       2022. The subpoena thus required me to comply approximately 21 calendar days after

       service.

   10. I am profoundly concerned regarding the present discovery demand as its request for

       several years of text messages, e-mails, and social media posts is overbroad, overly

       burdensome, and an invasion of my privacy. Plaintiffs’ counsel does not indicate why June

       2020 to present is a relevant discovery timeframe, and without explanation is overbroad

       and arbitrary.
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   11. Additionally, I believe that Plaintiff Lozano, through counsel, pursued the third-party

       subpoena against me as retaliation for a comment that I posted on a thread in a private,

       attorney-only Facebook group in approximately February of 2021, and that she selected

       the Southern District of Ohio as venue for the present Complaint because, unlike the States

       of Washington and California, Ohio does not have anti-SLAPP statutes.

   12. The comment that I made on the thread in the private Facebook group was to voice my

       concerns regarding ethical issues related to Plaintiff Lozano’s practice of immigration law

       in the State of Washington. Previously, a client consulted with me for a second opinion

       after first consulting with Plaintiff Lozano, and indicated that Plaintiff Lozano encouraged

       him/her to retain her for legal services in the amount of $12,000 to apply for an immigration

       benefit under VAWA. In order to qualify under VAWA, there must be a finding of battery

       or extreme cruelty by a U.S. citizen or lawful permanent resident family member. When

       the client consulted with me, s/he unequivocally indicated that s/he was not subjected to

       battery or extreme cruelty by their U.S. citizen or lawful permanent resident family member

       and yet she was encouraged by Plaintiff Lozano to mislead the government in an

       application for VAWA benefits. Thus, I determined that my client was ineligible for

       VAWA as previously claimed by Plaintiff Lozano and that Plaintiff Lozano was

       encouraging him/her to mislead the government for financial benefit ($12,000). My

       comment on the Facebook thread indicated my concerns to a private group of immigration

       law practitioners.

   13. On the aforementioned Facebook thread, numerous other immigration attorneys posted

       similar client experiences with Plaintiff Lozano and expressed serious concerns over her

       business practices as well as deceptive tactics to retain clients. For context, most non-
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       immigrants who enter the U.S. without inspection must leave the U.S. in order to regularize

       their immigration status, save for a limited number of exceptions. However, Plaintiff

       Lozano uses the tagline “arreglar sin salir” or “fix without leaving” heavily in her social

       media marketing, as though she can help most people to regularize their status without

       having to follow the normal process of leaving the U.S. She relies on a narrow exception

       to the general rule based on VAWA (which requires a finding of battery or extreme cruelty

       by a U.S. citizen or lawful permanent resident family member). Plaintiff Lozano’s business

       practices and social media marketing has been highly controversial within the immigration

       legal community and resulted in immigration practitioners discussing her practices on the

       aforementioned Facebook thread.

    14. I believe that it is our duty, as lawyers and officers of the court, to openly discuss ethical

       issues as they affect our practice and our clients, especially as they pertain to a particularly

       vulnerable group of the immigrant population.

    15. On March 11, 2021, I received a letter via email from Plaintiff Lozano, through counsel

       unlicensed in the State of Washington, entitled: “Immediate Action Required – Removal of

       Defamatory Posts on Facebook” (essentially a cease-and-desist demand). Plaintiff Lozano

       accused me of alleged “defamation” and demanded the removal of my comment on the

       Facebook post within 5 calendar days or threatened the initiation of litigation against me.

       Plaintiff Lozano, through counsel, also sent approximately 25-30 1 of these cease-and-desist

       letters to immigration attorneys located all over the United States, similarly alleging

       “defamation” and threatening litigation. (These attorneys also posted comments on the




1
  This is my best approximate guess as to how many cease-and-desist letters were sent to
immigration attorneys across the U.S.
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       Facebook thread). Upon learning of the voluminous cease-and-desist letters, the Facebook

       administrator of the private group almost immediately removed the thread in its entirety,

       ipso facto my comment. Thereafter, Plaintiff Lozano did not initiate any legal proceedings

       against me. For a year and a half, the matter seemed resolved.

   16. After receiving service of Plaintiff Lozano’s subpoena on September 16, 2022, I contacted

       Plaintiffs’ counsel via telephone on that date and spoke with Senior Counsel Kristen Fraser

       at Organ Law LLP in Ohio, the attorneys for Plaintiffs. As a non-defendant to the

       underlying suit, I had no prior knowledge regarding the litigation nor the legal claims at

       issue therein. I asked her what the litigation was regarding and was informed that it was

       about reports being made against Plaintiffs’ advertising videos on Facebook, TikTok, and

       Glassdoor such that the videos were being removed by the social media platforms. (I have

       since read the Complaint in its entirety and am now aware of the lawsuit’s underlying legal

       issues). Plaintiff’s counsel made it seem like I was only a person of interest for discovery

       and deposition due to the prior cease-and-desist demand previously sent by Plaintiff

       Lozano.

   17. During that conversation, I informed Plaintiffs’ counsel that I am nine months pregnant

       with an imminent due date and unable to perform discovery or sit for a deposition on

       October 7, 2022. Plaintiffs’ counsel indicating understanding of my medical situation and

       suggested moving discovery and deposition to November or December.

   18. On September 21, 2022, Plaintiffs’ counsel then requested via email document discovery

       by October 14, 2022 and a Zoom deposition during the third or fourth week of September.

       On September 23, 2022, I responded to Plaintiffs’ counsel with correspondence from my

       medical provider indicating that my due date is October 17, 2022, I am having pregnancy-
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       related medical complications, and therefore cannot be expected to be in court or sit for a

       deposition at any point after October 1, 2022. I indicated via email that my earliest

       availability would be December. On September 27, 2022, Plaintiffs’ counsel requested

       document production and deposition on December 12.

   19. I have not engaged in any of the conduct alleged in the Complaint (online harassment,

       reporting of social media posts, tortious interference with business relations, intellectual

       property infringement, etc.) against any of the Plaintiffs.

   20. Furthermore, I do not have knowledge of the person, persons, or entities purportedly

       responsible for the conduct alleged in the Complaint.

   21. I have no connection whatsoever to the conduct alleged in the Complaint nor to the legal

       issues specified therein.

   22. Plaintiff Lozano is an immigration practitioner in the same general area as my law office

       and we have had prior mutual clients in common. I know of her in a professional capacity

       only. Prior to the receipt of the third-party subpoena on September 16, 2022, I had no prior

       knowledge of Plaintiff Lisinski or Plaintiff Fantacci or their law offices. I have no

       professional or social media contacts with either of them. I have engaged in no activity of

       any kind related to them.

   23. I have no contacts with the State of Ohio or Plaintiff Lisinski (the sole Ohio Plaintiff)

       related to this matter. Therefore, I lack sufficient contacts with the State of Ohio to support

       the personal jurisdiction of the United States District Court for the Southern District of

       Ohio to support that court’s issuance of a subpoena to me in that venue.

   24. I did not and have not harassed Plaintiff Lozano, or any of the other Plaintiffs, as alleged

       in the Complaint, am I not listed as a defendant in their case, and I have no contacts with
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        EXHIBIT C
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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO

LOZANO ET AL.,


       Plaintiffs,

v.                                                 Case No. 2:22-cv-03089

JOHN DOES I-X; JANE DOES I-X; ABC
PARTNERSHIPS I-X; DEF LIMITED LIABILITY
COMPANIES I-X; AND XYZ CORPORATIONS;

       Defendants.


            MOTION FOR LEAVE TO SERVE THIRD PARTY SUBPOENAS
                    PRIOR TO A RULE 26(F) CONFERENCE

       Pursuant to Fed. R. Civ. P. 26(d), Plaintiffs Alexandra Lozano, Angelyne Lisinski, Giulia

Fantacci, and Lauren Eagan, hereby seek leave to serve third party subpoenas in advance of a

Rule 26(f) conference to ascertain the identities of unknown defendants. A memorandum in

support is set forth below.

Date: August 10, 2022                            Respectfully submitted,

                                         /s/ Shawn J. Organ
                                        Shawn J. Organ (0042052)
                                           Trial Attorney
                                        Kirsten R. Fraser (0093951)
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                                        amerino@organlegal.com
                                        Attorneys for Plaintiffs
                              MEMORANDUM IN SUPPORT
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                                            Introduction

       Plaintiffs Alexandra Lozano, Angelyne Lisinski, Giulia Fantacci, and Lauren Eagan

(collectively, “Plaintiffs”), respectfully request that the Court grant them leave to serve third

party subpoenas for written discovery and for depositions prior to a Fed. R. Civ. P. 26(f)

conference by way of this motion (“Motion”). Plaintiffs seek this discovery in order to ascertain

the identities of anonymous online harassers who have been defaming and otherwise tortuously

damaging Plaintiffs on various social media platforms such as TikTok, Google, Facebook, and

Instagram. Fed. R. Civ. P. 26(d) allows for this type of discovery upon a showing of good cause.

Such good cause exists here, and therefore, Plaintiffs respectfully request the Court grant the

instant motion and allow third party subpoenas to be served.

                                       Factual Background

       A.      Plaintiffs Are the Target of a Two-Year Defamatory Harassment Campaign
               by Anonymous Online Detractors and Competitors.

       As alleged in their Complaint, Plaintiffs are immigration attorneys who operate their own

successful law firms. They each have specialized knowledge of Violence Against Women Act

(“VAWA”) visas and Victims of Trafficking in Person or “T” visas, which are misunderstood

and underutilized. (Compl. ¶ 10). Each of Plaintiffs have continuously used trademarks in their

practices for educational and marketing purposes. (Id. ¶¶ 11-23).

       In or around August 2020, Plaintiffs became the target of a defamatory, discriminatory

harassment campaign by anonymous individuals online (the “Doe Defendants”). (Id. ¶ 27). At

the start, the Doe Defendants targeted Plaintiffs’ accounts on the social media platform TikTok,

Inc. (“TikTok”). (Id.) The campaign was aimed at disrupting Plaintiffs’ ability to educate

potential clients about VAWA and T visas, and prohibit Plaintiffs from marketing their services.

The campaign also defamed Plaintiffs by painting their ethical and successful legal practices as

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illegal and scams. The campaign escalated to the point where each of Plaintiffs were banned by

TikTok at multiple times over the last year. (Id. ¶¶ 31-32, 34, 41, 46-47, 52).

       Doe Defendants then spread their campaign to other social media platforms. (Id. ¶ 56).

For example, Doe Defendants have reported marketing content, paid advertising, and organic

posts on Facebook, and have spammed review websites such as Facebook and Google. (Id.).

       Doe Defendants then escalated their attacks on Plaintiffs by creating imposter accounts

on TikTok, Facebook, and Instagram. (Id. ¶ 57). These imposter accounts have contacted

Plaintiffs’ current and prospective clients and requested money, made defamatory comments,

and used Plaintiffs’ trademarks as a part of their campaign of harassment. (Id. ¶¶ 58-68).

       B.      To Date, Plaintiffs Have Been Unable to Identify Their Anonymous
               Harassers.

       Because the attacks have been conducted online, through third party platforms, and

anonymously, Plaintiffs have been unable to ascertain the identities of their harassers. Plaintiffs

have engaged platforms like TikTok in informal dispute resolution, but have not received any

information relating to the identity of the Doe Defendants. The only way Plaintiffs can obtain

the names of the individuals who are tortuously damaging Plaintiffs each day is through third

party subpoenas.

       C.      Plaintiffs Seek Limited Discovery Through Third Party Subpoenas for
               Documents and for Third Party Depositions.

       Through this Motion, Plaintiffs seek the identifying information of the subscribers to

Google, Facebook, and TikTok who have 1) reported Plaintiffs’ content; 2) made false reviews;

and 3) created fraudulent accounts. As for depositions, Plaintiffs seek leave to serve 24

subpoenas on individuals who are known to Plaintiffs, and who Plaintiffs believe are connected

to the defamation and infringement campaign. Those depositions would be limited in scope, and



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focused on determining the extent of those individuals’ knowledge regarding the defamatory

campaign, and their knowledge of the defamers’ identities.

                                         Legal Standard

       Fed. R. Civ. P. 26(d) provides generally that discovery may not begin prior to the Rule

26(f) conference, but expedited discovery may be conducted prior to that conference when

authorized by court order. Courts within the Sixth Circuit require a showing of good cause in

order to authorize expedited discovery. See TCYK, LLC v. Does 1-17, No. 2:13-cv-535, 2013

WL 2665025, *1 (S.D. Ohio Jun. 12, 2013). Good cause exists where the need for expedited

discovery, in consideration of the administration of justice, outweighs the prejudice to the

responding party. See Arista Records, LLC v. Does 1-15, No. 2:07-CV-450, 2007 WL 5254326,

*2 (S.D. Ohio Nov. 5, 2007) (quoting Semitool, Inc. v. Tokoyo Electron Am., Inc., 208 F.R.D.

273, 276 (N.D. Cal. 2002). Good cause is often found in cases alleging unfair competition. See

Arista Records, 2007 WL 5254326 at *2 (citing Quest Comm. Intern., Inc. v. WorldQuest

Networks, Inc., 213 F.R.D. 418, 419 (D. Colo. 2003)). Finally, good cause is determined by the

scope of the discovery request. See Artista Records, 2007 WL 5254325 at *2.

                                             Argument

       The Court should grant Plaintiffs’ Motion because it meets all of the requirements for

pre-Rule 26(f) conference discovery as articulated in the Sixth Circuit, and around the country.

Specifically, courts regularly grant leave for pre-Rule 26(f) conference discovery to ascertain the

identity of defendants in similar circumstances. Further, the requested discovery is the only

means Plaintiffs have to determine the identities of their harassers. Last, the requested discovery

is limited in scope. Accordingly, good cause exists for an order granting leave for Plaintiffs’ to

issue the requested third party subpoenas.



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        A.     Courts Regularly Grant Leave for Pre-Rule 26(f) Conference Discovery to
               Ascertain the Identity of Defendants in Similar Circumstances.

        The Court should grant Plaintiffs’ Motion because federal courts regularly permit

plaintiffs to seek discovery prior to a Rule 26(f) conference in order to discovery defendants’

identities. See 20/20 Financial Consulting, Inc. v. Does 1-5, Civil Action No. 10-cv-01006,

2010 WL 1904530, *1, (D. Colo. May 11, 2010) (finding good cause existed for pre-Rule 26(f)

discovery where Defendants engaged in anonymous online behavior, and would likely remain

anonymous unless Plaintiff were able to ascertain Defendants’ identities through formal

discovery procedures); Arista Records LLC v. Does 1-19, 551 F. Supp. 2d. 1, 6 (D.D.C. 2008)

(finding good cause for pre-Rule 26(f) discovery because “[d]efendants must be identified before

this suit can progress further”); LaFace Records, LLC, et al v. Does 1-5, No. 2:07-cv-187, 2007

WL 2867351, * (W.D. Mich. Sept. 27, 2007) (collecting cases, applying the “good cause”

standard, and holding that “discovery to allow the [identification] of “Doe” defendants is

“routine”). See also Davis v. Kelly, 160 F.3d 917 (2d Cir. 1998) (noting courts reject dismissal

of suits until plaintiff has had an opportunity for discovery to learn the identities of responsible

parties).

        20/20 Financial Consulting is on all fours with the instant matter. In 20/20 Financial

Consulting, the plaintiff alleged that unknown “John Does” were posting false and defamatory

messages about plaintiff on various internet weblogs and bulletin boards. See 2010 WL 1904530

at *1. While Plaintiffs had attempted to ascertain identities through pre-lawsuit investigation,

their efforts had been unsuccessful. Id. Thus, the court concluded that the plaintiffs required the

benefit of formal discovery mechanisms pursuant to Fed. R. Civ. P. 45 in order to identify the

defendants. Id.




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       The same is true here. Plaintiffs are the victims of an ongoing defamation campaign that

has involved false reporting of their social media posts, of posting defamatory reviews online,

and of infringing on Plaintiffs’ trademarks. Plaintiffs have been unable to identify the

individuals responsible for the tortious attacks against them—the tortfeasors have waged their

attacks in anonymity and to date their identities have been protected by Internet Service

Providers such as Google, Facebook, and TikTok. Instead, Plaintiffs require the subpoena power

of the Court to question individuals who are believed to be associated with the Doe Defendants,

who are located nationwide, and to gain the identity of the individuals who made defamatory

comments online. Because the facts are the same as in 20/20 Financial Consulting, the result

should be the same here, and Plaintiffs should be permitted to issue third party subpoenas to

ascertain the identities of the defendants.

       B.      The Third Party Subpoenas Requested Are the Only Means Plaintiffs Have
               of Identifying the Defendants.

       Plaintiffs can only identify their harassers through the requested subpoenas. Courts

recognize that Internet providers protect their customers’ privacy, and thus subpoenas to these

third-party providers (like Google, Facebook, and TikTok) are the only means of obtaining

subscribers’ identifying information. See Strike 3 Holdings, LLC v. Doe, 21-CV-4080, 2012 WL

3159809, *2 (Jun. 28, 2021) (collecting cases, noting that without a third-party provider’s

cooperation, plaintiff would be unable to identify the defendant). Here, the Doe Defendants have

made false reports directly to Google, Facebook, and TikTok, and created fraudulent accounts on

these platforms that infringe on Plaintiffs’ trademarks. Plaintiffs have been made aware of the

false reports and fraudulent accounts, but Plaintiffs have no access to any information as to the

Doe Defendants’ identity. Similarly, Plaintiffs require subpoenas for depositions of specific

individuals who are believed to either be a part of the harassing conspiracy, or have knowledge

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of the individuals who have harassed and defamed Plaintiffs. These depositions will be tailored

to discover the identities of the Doe Defendants. Without discovery from third party internet

providers and without discovery from individuals that are connected to the Doe Defendants, it is

impossible for Plaintiffs to seek redress for their injuries. Therefore, the Court should grant

Plaintiffs’ request for discovery. See Malibu Media, LLC v. Doe, No. 12 Cv. 2950, 2012 WL

5987854, *3 (S.D.N.Y Nov. 30, 2012) (finding that without discovery, case could not proceed).

       C.      The Discovery Is Narrowly Tailored to Identify the Defendants.

       Plaintiffs are specifically tailoring their subpoenas to identify the defendants. As for

written discovery, Plaintiffs seek the identifying information of the subscribers to Google,

Facebook, and TikTok who have 1) reported Plaintiffs’ content; 2) made false reviews; and 3)

created fraudulent accounts. As for depositions, Plaintiffs seek leave to serve 24 subpoenas on

individuals who are known to Plaintiffs, and who Plaintiffs believe are connected to the

defamation and infringement campaign. Those depositions would be limited in scope, and

focused on determining the extent of those individuals’ knowledge regarding the defamatory

campaign, and their knowledge of the defamers’ identities. Because the pre-Rule 26(f)

Conference discovery is limited in scope and aimed at identifying the Doe Defendants, the Court

should find good cause exists, and grant Plaintiffs’ requests.

                                            Conclusion

       For the foregoing reasons, Plaintiffs respectfully request the Court grant Plaintiffs’

Motion for Leave to Serve Third Party Subpoenas.



Date: August 10, 2022                                Respectfully submitted,

                                                      /s/ Shawn J. Organ
                                                     Shawn J. Organ (0042052)

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 10, 2022, the foregoing was



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electronically filed with the Clerk of Court using the CM/ECF system and was served on all

counsel of record.




                                                    /s/ Shawn J. Organ
                                                   Attorney for Plaintiffs




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

ALEXANDRA LOZANO, et al.,

                       Plaintiffs,

       v.                                             Civil Action 2:22-cv-3089
                                                      Chief Judge Algenon L. Marbley
                                                      Magistrate Judge Kimberly A. Jolson

JOHN DOES I–X, et al.,

                       Defendants,

                                     OPINION AND ORDER

       This matter is before the Court on Plaintiffs’ Motion for Leave to Serve Third Party

Subpoenas Prior to a Rule 26(f) Conference (Doc. 1). For the following reasons, the Motion is

GRANTED.

I.     BACKGROUND

       Plaintiffs are four immigration attorneys who bring this suit against unknown Defendants.

(Doc. 2, ¶¶ 1–5). Plaintiffs specialize in helping victims of human trafficking and domestic

violence in obtaining visas to stay in the United States, and promote their services through their

own websites, as well as through internet platforms, including Facebook, Instagram, and TikTok.

(Id., ¶¶ 10–26). They allege that numerous Defendants have engaged in a defamation campaign

against them. (Id., ¶¶ 27–72). In particular, Defendants purportedly made false reports that

Plaintiffs were violating the platforms’ community guidelines, which resulted in removal of their

content and banning of their accounts, left false reviews of Plaintiffs’ businesses online,

misappropriated their trademarks to make imposter social media accounts and content, and

harassed them with spam phone calls. (Id.). Plaintiffs now bring claims against Defendants for

defamation, tortious interference, invasion of privacy, intentional infliction of emotional distress,
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federal unfair competition under 15 U.S.C. § 1125(a)(1)(A), and civil conspiracy. (Id., ¶¶ 73–113).

       Yet Plaintiffs must first learn the identity of Defendants, who are alleged to have waged

their defamatory campaign from behind anonymous online profiles. (Doc. 1 at 2). Accordingly,

Plaintiffs move to invoke an exception to the general rule that discovery must not commence prior

to the scheduling conference required by Federal Rule of Civil Procedure 26(f). (Id. at 1).

II.    STANDARD

       Federal Rule of Civil Procedure 26 dictates that a party generally may not seek discovery

“before the parties have conferred as required by Rule 26(f),” except in limited circumstances,

including when authorized by court order. Fed. R. Civ. P. 26(d). “Courts within the Sixth Circuit

require a showing of good cause in order to authorize expedited discovery.” TCYK, LLC v. Does

1–17, No. 2:13-cv-535, 2013 WL 2665025, at *1 (S.D. Ohio Jun. 12, 2013). Good cause exists

where the need for expedited discovery, in consideration of the administration of justice, outweighs

the prejudice to the responding party. Arista Records, LLC v. Does 1-15, No. 2:07-CV-450, 2007

WL 5254326, at *2 (S.D. Ohio Nov. 5, 2007) (quoting Semitool, Inc. v. Tokyo Electron Am., Inc.,

208 F.R.D. 273, 276 (N.D. Cal. 2002). Good cause is often found in cases alleging unfair

competition. Id., at *2 (citing Qwest Commc’ns Int’l, Inc. v. WorldQuest Networks, Inc., 213

F.R.D. 418, 419 (D. Colo. 2003)). Finally, good cause is determined by the scope of the discovery

request. Id., at *2 (citing Qwest, 213 F.R.D. at 420).

III.   DISCUSSION

       The Court finds that Plaintiffs have demonstrated good cause for expedited discovery.

First, Plaintiffs assert an unfair competition claim against Defendants for misappropriation of their

trademarks. This type of claim generally supports a finding of good cause. Id., at *3.

       Second, only the internet platforms on which the alleged conduct occurred can identify



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Defendants. This too favors a finding of good cause. Id., at *3; 20/20 Fin. Consulting, Inc. v.

Does 1–5, No. 10-cv-01006, 2010 WL 1904530, at *1.               Without knowing the identity of

Defendants, Plaintiffs cannot satisfy their initial obligations in this litigation, including service.

Arista Records, 2007 WL 5254326, at *2 (citing Fed. R. Civ. P. 4(m)). Particularly where, as here,

Defendants have engaged in anonymous online behavior, the likelihood of Plaintiffs identifying

them without the aid of discovery mechanisms is low. 20/20 Fin. Consulting, 2010 WL 1904530,

at *1. Indeed, Plaintiffs’ efforts to identity Defendants have been unsuccessful. (Doc. 1 at 6).

And, without a subpoena, the internet platforms will continue to protect any identifying

information. See, e.g., Strike 3 Holdings, LLC v. Doe, No. 21-CV-4080, 2021 WL 3159809, at *2

(S.D.N.Y. June 28, 2021); Digital Sin, Inc. v. Does 1–27, No. 12 Civ. 3873, 2012 WL 2036035, at

*4 (S.D.N.Y. June 6, 2012).

       Finally, the scope of the requested discovery is sufficiently narrow. Plaintiffs request from

the internet platforms only the identifying information of users who reported their content, left

false reviews, and created imposter accounts. (Doc. 1 at 7). Additionally, they wish to engage in

depositions of individuals suspected of being involved in the campaign, but only to determine “the

extent of those individuals’ knowledge regarding the defamatory campaign, and their knowledge

of the defamers’ identities.” (Id.). The limited scope of the requested discovery supports a finding

of good cause.

       Simply put, Plaintiffs have an immediate need for discovery, and that need outweighs any

potential prejudice to the responding parties. Good cause therefore supports their motion.

IV.    CONCLUSION

       Based on the foregoing, Plaintiffs’ Motion for Leave to Serve Third Party Subpoenas Prior

to a Rule 26(f) Conference (Doc. 1) is GRANTED. Plaintiffs may serve immediate discovery



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consistent with this Opinion and Order.

IT IS SO ORDERED.



Date: August 12, 2022                         /s/ Kimberly A. Jolson
                                              KIMBERLY A. JOLSON
                                              UNITED STATES MAGISTRATE JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO

ALEXANDRA LOZANO
ANGELYNE LISINSKI,
GIULIA FANTACCI, AND
LAUREN EAGAN,

       Plaintiffs,                                   Case No. 2:22-cv-03089

v.
                                                     COMPLAINT
JOHN DOES I-X; JANE DOES I-X; ABC
PARTNERSHIPS I-X; DEF LIMITED LIABILITY              JURY DEMAND ENDORSED HEREON
COMPANIES I-X; AND XYZ CORPORATIONS;

       Defendants.


       Now come plaintiffs Alexandra Lozano, Angelyne Lisinski, Giulia Fantacci, and Lauren

Eagan (collectively, “Plaintiffs”), and by and through undersigned counsel, for their claims state

as follows:

                                            PARTIES

       1.      Plaintiff Alexandra Lozano, (“Lozano”), is an immigration attorney who resides

in the State of Washington. Lozano is the founder of AMIGA, a supportive and educational

group for female immigration attorneys across the United States. Lozano founded AMIGA as a

way to connect and educate immigration attorneys, as well as share her extensive knowledge of

special forms of immigration relief. Lozano has mentored each of the Plaintiffs in immigration

law, and in particular in the use of Violence Against Women Act Visas and Victims of

Trafficking in Person Visas.

       2.      Plaintiff Angelyne Lisinski, (“Lisinski”), is an immigration attorney who resides

in the State of Ohio.
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        3.      Plaintiff Giulia Fantacci, (“Fantacci”), is an immigration attorney who resides in

the State of Florida.

        4.      Plaintiff Lauren Eagan, (“Eagan”), is an immigration attorney who resides in the

State of Washington.

        5.      JOHN and JANE DOES I-X are fictitious persons who may have an interest

herein. ABC PARTNERSHIPS I-X, DEF LIMITED LIABILITY COMPANIES I-X, and XYZ

CORPORATIONS I-X (collectively, “Defendants”) are fictitious entities who may have an

interest herein. When the true name of said fictitious persons and/or entities become known to

Plaintiffs, Plaintiffs will amend their pleadings to reflect the same.

                                  JURISDICTION AND VENUE

        6.      This Court has jurisdiction over the claims raised in this action pursuant to 28

U.S.C. §§ 1331, 1338, and 1367.

        7.      Upon information and belief, a substantial portion of Defendants’ tortious actions,

upon which the allegations in this Complaint are based, occurred, and caused events to occur in

the Southern District of Ohio.

        8.      Upon information and belief, the Court has personal jurisdiction over Defendants.

        9.      Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claims occurred in this judicial district.

                                   FACTUAL ALLEGATIONS

        10.     Plaintiffs are each immigration attorneys who operate their own successful law

firms. Plaintiffs specialize in helping victims of human trafficking and victims of domestic
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violence in obtaining visas to stay in the United States. Plaintiffs work predominantly with the

Latino community. Specifically, each Plaintiff has specialized knowledge of Violence Against

Women Act (“VAWA”) visas and Victims of Trafficking in Person or “T” visas, which are

misunderstood and underutilized. These visas can lead to work authorizations and make it

possible to obtain green cards without having to leave the country to obtain legal status.

                                     Plaintiffs’ Trademarks

       11.     Lozano is the founder of Alexandra Lozano Immigration Law. Lozano has

continuously used Abogada Alexandra in commerce as a trademark since at least as early as

2016 in connection with Lozano’s legal services (“Lozano Trademark”). Among other uses,

Lozano uses Lozano Trademark A on her website, on the Alexandra Lozano Immigration Law

Facebook account page, and on other social media sites like Instagram and TikTok.

       12.     As a result of her widespread, continuous, and exclusive use of Lozano

Trademark to identify Lozano’s legal services and Lozano as the source of those legal services,

Lozano owns valid and subsisting common law rights in and to Lozano Trademark.

       13.     Lisinski is the founder of Lisinski Law. Lisinski has continuously used Lisinski

Law in commerce as a trademark since at least as early as September 2020 in connection with

Lisinski’s legal services (“Lisinski Trademark”). Among other uses, Lisinski uses Lisinski

Trademark A on her website, on the Lisinski Law Facebook account page, and on other social

media sites like Instagram and TikTok.

       14.     As a result of her widespread, continuous, and exclusive use of Lisinski

Trademark to identify Lisinski’s legal services, and Lisinski as the source of those legal services,

Lisinski owns valid and subsisting common law rights in and to Lisinski Trademark.
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       15.     Fantacci is the founder of GF Immigration. Fantacci has continuously used

ABOGADA JULIA in commerce as a trademark since at least as early as November 2, 2020, in

connection with Fantacci’s legal services (the “Fantacci Trademark”).

       16.     As a result of her widespread, continuous, and exclusive use of Fantacci

Trademark to identify Fantacci’s legal services, and Fantacci as the source of those legal

services, Fantacci owns valid and subsisting common law rights in and to Fantacci Trademark.

       17.     On September 3, 2021, GF Immigration filed an application for the Trademark

with the U.S. Patent and Trademark Office, which was assigned Serial No. 97011552, and is

currently pending in International Class 045 for “Legal Services.”

       18.     Eagan is the founder of Eagan Immigration. Eagan has continuously used Eagan

Immigration in commerce as a trademark since at least as early as January 1, 2016, in connection

with Eagan’s legal services (the “Eagan Trademark”).

       19.     A result of her widespread, continuous, and exclusive use of Eagan Trademark to

identify Eagan’s legal services, and Eagan as the source of those legal services, Eagan owns

valid and subsisting common law rights in and to Eagan Trademark.

       20.     In addition to her common law trademark, Lozano also coined the phrase,

“arreglar sin salir”, which translates to “fix without leaving” to raise awareness among the

Spanish-speaking immigrant community of the possibilities of the VAWA and T visas.

       21.     Lozano has continuously used “Arreglar sin salir” in commerce as a trademark

since at least as early August 2016 in connection with Lozano’s legal services (“Arreglar Sin

Salir Trademark”).

       22.     On July 15, 2022, Lozano filed an application for the Arreglar Sin Salir

Trademark with the U.S. Patent and Trademark Office, which was assigned Serial No.
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97504788, and is currently pending in International Class 041 for “Education and Entertainment

Services.”

       23.     Lozano has permitted each of Plaintiffs to use Arreglar Sin Salir in their

marketing and educational materials, particularly on social media websites such as TikTok.

       24.     Plaintiffs have expended substantial time, money, and resources marketing,

advertising, and promoting their legal services which they have offered, sold, and provided under

each of the Trademarks (Lozano Trademark, Lisinski Trademark, Fantacci Trademark, and

Eagan Trademark, together with Arreglar Sin Salir are hereinafter referred to as “The

Trademarks”), including through Plaintiffs’ social media accounts and through other online and

offline marketing channels.

       25.     Likewise, each of Plaintiffs have expended substantial time, money, and resources

marketing, advertising, and promoting her legal services and educational services which they

have offered, sold, and provided under Arreglar Sin Salir Trademark.

       26.     The legal services offered under each of The Trademarks are of high quality and,

as a result of Plaintiffs’ expenditures and efforts, the Trademark has come to signify the high

quality of the legal services designated by the Trademark, and has acquired incalculable

distinction, reputation, and goodwill belonging exclusively to Plaintiffs.

             Doe Defendants Conduct a Defamatory Campaign Against Plaintiffs


       27.     Upon information and belief, as early as August 2020, the Plaintiffs became the

target of a defamatory, discriminatory harassment campaign by the Doe Defendants. The Doe

Defendants orchestrated this campaign by targeting Plaintiffs’ TikTok accounts, making false

reports about the contents of Plaintiffs’ TikTok postings.
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       28.     For example, in or about August 2020, upon information and belief, the Doe

Defendants falsely reported a video posted to Eagan’s TikTok account, claiming the video

violated TikTok’s Community Guidelines. The Doe Defendants made the report with the intent

of having the video removed and Eagan’s account suspended.

       29.     Based on this false report, TikTok removed Eagan’s video for “violating [its]

Community Guidelines.”

       30.     Eagan filed an appeal with TikTok pursuant to the Community Guidelines, as

removal of the video not only caused financial damage to Eagan, as Eagan depends on traffic

from TikTok to generate leads, but the removal also caused reputational damage to Eagan.

Despite Eagan’s appeal, TikTok did not reinstate the video.

       31.     The pattern of defamatory harassment against Eagan continued. For example, in

or about December 2020, TikTok notified Eagan that her TikTok account “was temporarily

blocked from posting” until December 18, 2020. In support of that suspension, TikTok claimed

Eagan had committed “multiple violations” of its policies.

       32.     Though Eagan successfully appealed her first temporary suspension, the

harassment continued to the point that TikTok again temporarily blocked Eagan from posting,

then temporarily blocked Eagan from posting as well as “commenting, messaging, and other

rights.” This pattern has repeated itself multiple times over.

       33.     Eagan appealed each of her takedowns and bans with only approximately 50

percent of her videos being reinstated.
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       34.     The discriminatory campaign against Eagan escalated when on or about July 29,

2021, Eagan received notice that TikTok permanently banned her account, @eaganimmigration,

for no apparent reason other than the discriminatory, defamatory reports.

       35.     At no time did Eagan’s posts in fact violate TikTok’s Community Guidelines.

       36.     Plaintiffs Lisinski, Fantacci, and Lozano have likewise suffered from the same

discriminatory defamation campaign by the Doe Defendants.

       37.     Upon information and belief, the Doe Defendants have targeted Lisinski’s TikTok

account, making discriminatory and defamatory reports regarding Lisinski’s posts, resulting in

TikTok taking down those posts, even though they did not violate any Community Guidelines.

       38.     Though Lisinski had some success appealing TikTok’s takedown of Lisinski’s

videos, by March and April of 2021, Lisisnki rarely won any of her appeals.

       39.     For example, on or about the week of July 27, 2021 to August 2, 2021, two out of

five of Lisinski’s videos on her TikTok account were preemptively flagged by TikTok as

promoting illegal goods. Subsequently, Lisinski’s account was then temporarily suspended.

       40.     By October 2021, every video that Lisinski posted was automatically held by

TikTok for review, without cause. Some of the videos were released while others were not.

       41.     On or about December 12, 2021, TikTok notified Lisinski that her account was

permanently banned. After an appeal, Lisinski’s account was reinstated. Nine days later, on or

about December 21, 2021, Lisinski was again permanently banned by TikTok. She appealed and

her account was restored the next day, though she was still banned from posting for seven days.
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       42.     Lisinski was forced to create a secondary account due to TikTok’s repeated

improper banning of her main account due to Doe Defendants’ actions.

       43.     Lisinski’s videos are still subject to preemptive review, and upon information and

belief, the Doe Defendants continue to falsely report Lisinski’s content as violating TikTok’s

Community Guidelines. As recently as June 2022, Lisinski has had a video falsely reported and

improperly removed.

       44.     The reports have steadily increased as now Lisinski has videos falsely flagged for

violating community guidelines daily.

       45.     At no time have Lisinksi’s posts in fact violated the Community Guidelines.

       46.     Likewise, upon information and belief, the Doe Defendants have targeted

Fantacci’s TikTok account, making discriminatory and defamatory reports regarding Fantacci’s

posts, resulting in TikTok removing those posts, even though they did not violate any

Community Guidelines. Fantacci has also been temporarily suspended by TikTok due to these

discriminatory and defamatory reports.

       47.     Fantacci was suspended for one week in December 2020. TikTok cited “illegal

activities” as the reason for this suspension. After this happened, Fantacci struggled to post on

TikTok. During 2021, most of Fantacci’s videos were flagged, especially during the first half of

the year.

       48.     As recently as October 2021, TikTok began preemptively reviewing each video

Fantacci attempts to post.
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       49.     In July 2022, Fantacci had a video removed. Then, on or about July 6, 2022,

Fantacci’s entire account was reported and was placed “under review” by TikTok. Fantacci had

four videos and stories removed in July 2022, alone.

       50.     At no time have Fantacci’s posts in fact violated the Community Guidelines.

       51.     Between 2020 and 2021, Lozano has had over 63 videos removed from TikTok.

       52.     TikTok has also placed multiple bans on Lozano’s account during that time.

       53.     In 2022, Lozano’s videos have been falsely reported and removed numerous

times, for allegedly violating the Community Guidelines. One of these videos relayed the

following simple message: “Blessings to you!” Not only that, Lozano’s account has been

suspended because old videos were being falsely reported.

       54.     In the two years since the attacks on Plaintiffs began, Lozano has never been able

to consistently post on TikTok.

       55.     At no time have Lozano’s posts in fact violated the Community Guidelines.

       56.     Beyond TikTok, Doe Defendants have targeted Plaintiffs’ other social media

accounts. For example, Lisinski’s marketing content, paid advertising, and organic posts are all

being reported to Facebook, even though none of the posts violate any Facebook guidelines. Her

Facebook account is being spammed with false reviews. Lozano is being targeted with false

reviews on Google and Glassdoor. The list goes on.

                                     Fraudulent Accounts

       57.     Each of Plaintiffs have had imposter accounts use The Trademarks on TikTok,

Instagram, and Facebook.
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       58.     Upon information and belief, it is the Doe Defendants who have created the

imposter accounts.

       59.     For example, there are three imposter accounts impersonating Fantacci on

TikTok, using her trademarked logo: @abogadaajulia; @.abogadajulia; and,

@abogadajulia.creator. Fantacci has reported those fake accounts multiple times, but TikTok

has done nothing to remove them.

       60.     Even more, in April 2022, Fantacci discovered a Facebook account titled “Julia

GF” on Facebook.

       61.     The fraudulent Facebook account attempted to pass itself off as Fantacci’s own

account by using variations of Fantacci’s name as its title, using pictures Fantacci uses on her

actual Facebook page, and using the Fantacci Trademark.

       62.     Through the fraudulent Facebook account using the Fantacci Trademark, Doe

Defendants requested that potential and current clients contact them at a phone number that did

not belong to Fantacci. The fraudulent Facebook account also directly contacted Fantacci’s

clients, asking for payments.

       63.     Lisinski has been targeted by the same scheme. Doe Defendants have used the

Lisinski Trademark, as well as Lisinski’s image, logo, branding, and marketing statements to

create fraudulent Facebook accounts. Doe Defendants have used those fraudulent to message

current and potential clients making defamatory statements regarding Lisinski and her legal

practice. Doe Defendants have also asked Lisinski’s clients for payments.

       64.     Lisinski has also discovered that the Lisinski Trademark, as well as Lisinksi’s

image, logo, branding, and marketing statements to create fraudulent TikTok accounts. These
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TikTok accounts are reaching out to current and potential clients, and asking for payments as

well.

        65.     The intent of the fraudulent accounts is to confuse current and potential clients, to

divert business away from Plaintiffs, and to damage Plaintiffs’ reputations through improper

competitive harm.

                     Unauthorized Use of The Arreglar Sin Salir Trademark

        66.     An April 7, 2021 article in Mother Jones highlighted The Arreglar Sin Salir

Trademark and noted that the hashtag “#arreglarsinsalir” has topped over 1 million views on

TikTok.1 However, the TikTok videos described in the Mother Jones article are nothing like the

videos Plaintiffs post. The article describes the posts as following a “simple formula”: a

Mariachi song or reggaeton beat, a lawyer dancing and flashing work permits, often guaranteeing

employment authorization in six months and a green card within two years.

        67.     These are unauthorized uses of the Arreglar Sin Salir Trademark.

        68.     Plaintiffs do not use The Arreglar Sin Salir Trademark in this manner, and in

particular, do not guarantee results. However, Plaintiffs have been lumped in with these lawyers

who have infringed on The Arreglar Sin Salir Trademark, and have become the target of

detractors who make false statements regarding Plaintiffs’ marketing and ethical conduct.

              The Doe Defendants Have Harassed Plaintiffs Through Spam Phone Calls

        69.     Upon information and belief, the Doe Defendants have harassed Plaintiffs through

spam phone calls.



1
        https://www.motherjones.com/politics/2021/04/the-tiktok-trend-that-has-immigration-lawyers-worried/
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          70.   Lisinski and Eagan received numerous phone calls over a span of several weeks

in December 2020 through January 2021.

          71.   Along with the phone calls, Eagan’s firm received 10-20 explicit and

inappropriate messages from a single phone number.

          72.   Upon information and belief, the same Doe Defendants who have defamed

Plaintiffs on TikTok and other social media websites are also responsible for the harassing phone

calls and messages.

                                              COUNT I
                                            (Defamation)

          73.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          74.   Doe Defendants have made false statements about Plaintiffs in relation to their

employment, quality of work, and job performance.

          75.   Doe Defendants have made false statements about Plaintiffs’ ethics, which reflect

upon Plaintiffs’ character and brings each of them into ridicule, hatred, or contempt.

          76.   These false statements include but are not limited to: (i) reporting Plaintiffs’

videos to TikTok for violating Community Guidelines, including accusing Plaintiffs of

promoting illegal goods; (ii) making false reports to Facebook; (iii) posting false and defamatory

reviews on Google, Facebook, and Glassdoor; and (iv) making false statements to current and

prospective clients through TikTok, Facebook, and other social media messaging features.

          77.   These false statements were made to third parties, including, but not limited to

TikTok, Facebook, Google, Glassdoor, and current and potential clients.
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          78.   Doe Defendants made the false statements with negligence and/or actual malice.

          79.   The false statements were directed at Plaintiffs’ occupation and profession, and

therefore constitute defamation per se or caused special harm to Plaintiffs.

          80.   As a direct and proximate result of Doe Defendants’ defamation, Plaintiffs have

been damaged monetarily, emotionally, and in reputation, in an amount that exceeds $75,000.

                                            COUNT II
                                      (Tortious Interference)

          81.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          82.   Plaintiffs have existing business relationships with individuals, entities, and

organizations relating to their businesses.

          83.   Plaintiffs have a reasonable expectation of future business relationships with

individuals, entities, and organizations with whom Plaintiffs do business or whom Plaintiffs may

reasonably expect to do business.

          84.   At all material times hereto, Doe Defendants were aware of Plaintiffs’ existing

and/or prospective business relationships.

          85.   Upon information and belief, Doe Defendants intentionally and/or purposefully

interfered with Plaintiffs’ existing and prospective relationships by making false and defamatory

reports, including but not limited to : (i) reporting Plaintiffs’ videos to TikTok for violating

Community Guidelines, including accusing Plaintiffs of promoting illegal goods; (ii) making

false reports to Facebook; (iii) posting false and defamatory reviews on Google, Facebook, and

Glassdoor; and (iv) making false statements to current and prospective clients through TikTok,
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Facebook, and other social media messaging features. These reports were made with the goal of

interfering with Plaintiffs’ business relationships.

          86.   In interfering with Plaintiffs’ existing and prospective relationships, Doe

Defendants acted with malice.

          87.   Doe Defendants lacked any justification or privilege to make such reports and

interference.

          88.   As a direct and proximate result of Doe Defendants’ tortious interference,

Plaintiffs have been damaged monetarily, emotionally, and in reputation, in an amount that

exceeds $75,000.



                                           COUNT III
                                (Invasion of Privacy – False Light)

          89.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          90.   Doe Defendants have made false reports regarding Plaintiffs, including but not

limited to: (i) reporting Plaintiffs’ videos to TikTok for violating Community Guidelines,

including accusing Plaintiffs of promoting illegal goods; (ii) making false reports to Facebook;

(iii) posting false and defamatory reviews on Google, Facebook, and Glassdoor; and (iv) making

false statements to current and prospective clients through TikTok, Facebook, and other social

media messaging features Doe Defendants have made these false reports to third parties,

including but not limited to TikTok.

          91.   The false reports have placed Plaintiffs in a false light.
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          92.   The false reports are highly offensive to a reasonable person and have been shared

with the intent of causing harm.

          93.   Doe Defendants knew the false reports were false or acted in reckless disregard as

to the falsity of the false reports.

          94.   Doe Defendants acted with malice in making the false reports.

          95.   As a direct and proximate result of Doe Defendants’ tortious actions, Plaintiffs

have been damaged monetarily, emotionally, and in reputation, in an amount that exceeds

$75,000.

                                             COUNT IV
                           (Intentional Infliction of Emotional Distress)

          96.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          97.   By sharing the false reports, convincing TikTok to remove Plaintiffs’ posts and

videos resulting in the suspension of Plaintiffs’ accounts, harming Plaintiffs’ businesses, and

harassing the Plaintiffs through the reports to TikTok, as well as phone calls and other means,

and by creating fraudulent imposter accounts, Doe Defendants have engaged in extreme and

outrageous conduct.

          98.   Doe Defendants engaged in extreme and outrageous conduct with the intention to

cause Plaintiffs severe emotional distress.

          99.   Doe Defendants knew and/or recklessly disregarded the near certainty that such

emotional distress would result from their conduct.
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          100.   Doe Defendants acted with malice when making false reports, including those to

TikTok, and in harassing the Plaintiffs.

          101.   As a direct and proximate result of Doe Defendants’ tortious actions, Plaintiffs

have been damaged monetarily, emotionally, and in reputation, in an amount that exceeds

$75,000.

                                              COUNT V
                    (Federal Unfair Competition – 15 U.S.C. § 1125(a)(1)(A))
          102.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          103.   Doe Defendants’ unauthorized use in commerce of The Trademarks, through

unauthorized use of The Trademarks as well as the fraudulent Facebook and TikTok Accounts,

has already deceived and is likely to deceive consumers of legal services as to the origin, source,

sponsorship, or affiliation of Doe Defendants’ fraudulent services (through impersonation of

Plaintiffs) and is likely to cause consumers to believe, contrary to fact, that Doe Defendants’

fraudulent services are sold, authorized, endorsed, or sponsored by Plaintiffs, or that Doe

Defendants are in some way affiliated with or sponsored by Plaintiffs, or that Doe Defendants

actually are Plaintiffs.

          104.   Doe Defendants’ unauthorized use in commerce of The Trademarks as alleged

herein constitutes use of a false designation of origin and misleading description and

representation of fact.

          105.   Upon information and belief, Defendants committed the conduct alleged herein

with full knowledge of Plaintiffs’ prior rights in The Trademarks and with the willful intent to

cause confusion, mistake, or deception and trade on Plaintiffs’ reputation and goodwill.
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          106.   Upon information and belief, Doe Defendants’ conduct as alleged herein is willful

and is intended to cause, has caused, and is likely to continue to cause confusion, mistake, or

deception as to the affiliation, connection, or association of Doe Defendants with Plaintiffs.

          107.   Doe Defendants’ conduct as alleged herein, constitutes unfair competition in

violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

          108.   Doe Defendants’ conduct as alleged herein is causing immediate and irreparable

harm and injury to Plaintiffs, and to their goodwill and reputation, and will continue to both

damage Plaintiffs and confuse the public unless enjoined by this Court. Plaintiffs have no

adequate remedy at law.

          109.   Plaintiffs are entitled to, among other relief, injunctive relief and an award of

actual damages, Doe Defendants’ profits, enhanced damages and profits, reasonable attorneys'

fees, and costs of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116,

1117, together with prejudgment and post-judgment interest.



                                             COUNT VI
                                          (Civil Conspiracy)

          110.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          111.   Doe Defendants participated in a malicious combination with the purpose of

causing damage to Plaintiffs’ businesses and reputations.

          112.   Doe Defendants, each and collectively, engaged in unlawful activity including

defamation, tortious interference, invasion of privacy, intentional infliction of emotional distress,

and unfair competition independently and in conspiracy with each other.
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       113.    As a direct and proximate result of Doe Defendants’ tortious actions, Plaintiffs

have been damaged monetarily, emotionally, and in reputation, in an amount that exceeds

$75,000.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this court enter judgment in their favor

and issue the following relief as applicable:

       1.      Preliminary and permanent injunctive relief as against Doe Defendants from

               defaming and harassing Plaintiffs;

       2.      An award of general, specific, compensatory, punitive, special, and exemplary

               damages in an amount exceeding $75,000;

       3.      Pre- and post-judgment interest;

       4.      An award of Plaintiffs’ reasonable attorneys’ fees, costs, and expenses incurred;

               and,

       5.      Such other relief as this Court deems just and proper.

                                         JURY DEMAND

       Plaintiffs respectfully request a trial by jury on all claim so triable.

Date: August 10, 2022                               Respectfully submitted,

                                                     /s/ Shawn J. Organ
                                                    Shawn J. Organ (0042052)
                                                       Trial Attorney
                                                    Kirsten R. Fraser (0093951)
                                                    Ashley T. Merino (0096853)
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                                                    614.481.0900
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         EXHIBIT F
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                                                                           8283 North Hayden Road #229
                                                                                   Scottsdale, AZ 85258




March 11, 2021

SENT VIA FIRST CLASS U.S. MAIL AND EMAIL
Stefania Joanne Ramos Birch
P.O. Box 2102
Bothell, WA 98041
Email: ramosimmigration@gmail.com


               Re: Immediate Action Required – Removal of Defamatory Posts on Facebook


Dear Ms. Ramos Birch,

       My firm has been retained to represent Alexandra Lozano, Esq. (“Client”) with regard to
above-referenced false and defamatory statements that you have posted on Facebook in a “private”
group named “Nerdy Immigration Lawyers.” The defamatory statements are outlined below
(“Defamatory Statements”). The Defamatory Statements are not only false, but also portray my
Client in a false light, and are extremely damaging to my Client, a professional lawyer in
Washington. The postings at issue are attached as Exhibit A for your reference.

        The Defamatory Statements are false, defamatory, and have caused significant harm to my
Client. You must delete the Defamatory Statements immediately, and confirm the same within
5 calendar days of this demand; otherwise, our firm will have no choice but to sue you, and seek
damages for the harm caused to my Client’s professional reputation.

                                       Background Facts

        My Client is a professional attorney in Washington, and is the founder of AMIGA Lawyers,
a successful private group of female attorneys throughout the United States, who support and uplift
one another. She is known for her effective immigration practices, specifically due to her work
with I-360 Violence Against Women Act (“VAWA”) and T-Visa cases. My Client has filed over
1000 VAWA cases, and has only lost one due to no fault of her own. My Client works around the
clock to serve disadvantaged communities, and uses the reputation she has built for herself to help
hundreds of clients gain lawful status in the United States. Because of her knowledge, experience,
and ability to help undocumented residents have a brighter future, my Client utilizes the power of
social media to educate the public and other attorneys on the benefits of taking advantage of all
opportunities available under the law, including screening clients for different immigration relief
options.




                                   RMWARNERLAW.COM
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    On July 20, 2016, a private Facebook group called “Nerdy Immigration Lawyers” was formed
as “a general immigration law discussion group for and by immigration lawyers” (the “Group”).
The Group currently has over 5,500 members of the legal community. My Client, who recently
left the Group on February 16, 2021, has been the target of defamatory attacks, such as your
Defamatory Statements, in the Group by its members, that has affected her reputation in the
immigration law community. You have been identified as one of the Group’s members and as one
of the active participants in the campaign to smear my Client’s reputation and ultimately hurt her
business. We understand that lawyers may have differing opinions on points of law, and even
immigration lawyers serving the same communities may have opposite viewpoints; however, this
does not justify publishing false and defamatory purported statements of fact about my Client.

    A. Violence Against Women Act and other Immigration Relief

         The best way to help you understand why your statements are defamatory is by giving you
a summary of the law that is the focal point of my Client’s educational videos. A major,
underutilized form of immigration relief is found under VAWA. VAWA includes provisions to
allow noncitizen-victims of physical and mental abuse to obtain immigration relief independent of
their abusive spouse or parent.1 For an individual to be eligible to self-petition for relief under
VAWA, she or he must be: a spouse or former spouse (under specific circumstances) of an abusive
U.S. citizen or lawful permanent resident; a child of abusive citizens or lawful permanent residents
who file before turning 25; a noncitizen parent of an abused noncitizen child, even if the noncitizen
parent is not herself abused; and a non-citizen spouse whose children are abused by the child’s
other U.S.-citizen or LPR parent.2 Although the legal standard for abuse is “battery or extreme
cruelty,” there is no known threshold for how severe the abuse must be to constitute battery or
extreme cruelty. It is up to the government to determine whether an individual has satisfied the
eligibility requirements and met that legal standard. Aside from the fact that there is no limit on
how many self-petitions may be filed annually, everyone has a right to file and be heard if they
believe that they meet the criteria listed in VAWA. It would be outrageous to think that one
person’s abuse is more important than another’s abuse, and therefore, some people should accept
their abuse because others may be having it “worse.”

         Another form of immigration relief is referred to as a T-Visa, which was created under the
Battered Immigrant Women Protection Act of 2000. The T-Visa provides relief to victims of
severe forms of human trafficking, which is defined as (i) “sex trafficking in which a commercial
sex act is induced,” or in which the person induced is under 18 years of age; or (ii) “recruitment,
harboring, transportation, provision, or obtaining of a person for labor or services, through the use
of force…for the purpose of subjection to involuntary servitude.”3 Once again, as long as this
criterion is met, an individual is eligible for relief under the T-Visa. Aside from the definitional
language of “severe forms of trafficking in persons,” there is no known legal threshold of how
severe the abuse and/or trafficking must be to become eligible. These two forms of relief, which


1
  INA § 245(a); 8 U.S.C. § 1255(a).
2
  INA § 204(a)(1)(A), 8 U.S.C. § 1154(a)(1)(A).
3
  22 U.S.C. § 7102(11); Trafficking Victims Protection Act of 2000 (TVPA), Pub. L. No. 106-386, Div. A, 114 Stat.
1470.
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my Client is extremely knowledgeable and experienced in, have been the subject of my Client’s
educational videos, and as such, the crux of your Defamatory Statements.

    B. Washington’s Rules of Professional Conduct and Screening Clients

        In the targeted attacks by you and other members of the Group, my Client was accused of
deceiving the public and using unethical tactics by questioning clients to determine if they qualify
for the forms of immigration relief described above. As a lawyer yourself, it is my hope that you
are more than aware that attorneys are governed by the Rules of Professional Conduct. Under
Washington’s Rules of Professional Conduct (“RPC”), a lawyer has certain mandatory and
permissive duties that allow my Client, and other attorneys, to consult with their clients and engage
in a form of questioning and soliciting of information so they may best represent their clients’
interests. These relevant rules include, but are not limited to, the following:

        RPC 1.3—A lawyer shall act with reasonable diligence and promptness in representing a
        client. In Comment 1, the attorney is guided by the following: Although a lawyer is not
        bound to press for every advantage that might be realized for a client, it is not unethical to
        do so. A lawyer has professional discretion to determine the means by which a matter
        should be pursued.

        RPC 1.4(a)(2)—A lawyer shall reasonably consult with the client about the means by
        which the client’s objectives are to be accomplished.

        RPC 2.1—A lawyer shall exercise independent professional judgment and render candid
        advice. In rendering advice, a lawyer may refer not only to law, but to other considerations
        such as moral, economic, social and political factors, that may be relevant to the client’s
        situation.

        Although a lawyer may not directly solicit professional employment under RPC 7.3(a), that
is not what my Client was doing. My Client is not only ethically sound in asking her clients
questions to determine the best way to represent them, but is also a successful and trusted attorney
because of the way she vigorously represents her clients’ interests. That being said, the RPC
applies to lawyers inside and outside the scope of their role as an attorney. Under RPC 8.4, it is
professional misconduct for a lawyer to: (i) commit a criminal act that reflects adversely on the
lawyer’s fitness as a lawyer (RPC 8.4(b)), and (ii) engage in conduct demonstrating unfitness to
practice law (RPC 8.4(n)). Therefore, it is unethical for an attorney, such as yourself, to behave in
such a manner that could possibly constitute harassment. However, my Client has no intention of
pursuing a harassment claim or bar complaint in the hope that these Defamatory Statements were
an error in judgment and will be expeditiously removed.

                                     Your Defamatory Statements

Please reference your statements attached in Exhibit A. With regard to these statements:

1. False: “She quoted someone $12K for a VAWA…”
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            Truth: This statement creates a false impression that $12,000 for a VAWA application
            is unreasonable, and that my Client is violating her ethical obligations under
            Washington State’s Rules of Professional Conduct. RPC 1.5 states that a lawyer should
            not charge unreasonable fees, and then lists a myriad of factors that are considered
            when determining if fees are unreasonable. My Client’s time, labor, and knowledge,
            the time limitations set by the circumstances, the difficulty of the process, and the skill
            required to perform this particular service all contribute to why my Client charges the
            fees she does, and why it is reasonable under the circumstances. My Client is a leading
            expert in the field and her services are highly sought after. She is ethically sound in
            charging $12,000 for a VAWA case, and it is a falsity to suggest otherwise.

2. False: “…when the person wasn’t even eligible.”

            Truth: This statement is false because the context of the entire statement tells the
            reader that my Client quoted a potential client for a service that she knew she could not
            perform. My Client has never offered her services and expected a client pay for those
            services without using diligence to determine if the client could actually be helped. My
            Client is aware that other lawyers in the immigration field do not believe in or agree
            with her successful strategies to help her clients gain lawful permanent residence under
            VAWA. However, it does not make my Client’s methods any less accurate or ethical
            than the strategies of other attorneys in the field. Finally, you represent to the public to
            have specialized knowledge of the circumstances of a particular client and the advice
            that my Client offered said client – if you do not have said knowledge, then this is
            further evidence of the malice with which you are attacking my Client. But even if you
            do have such specialized knowledge of a particular client encounter and what was
            stated to the client (which you cannot possible have, as you would only have one-side
            of the consultation), you statement presumes that there is no professional discretion as
            to eligibility under VAWA.

3. False: “I’ve tried to encourage clients to report her.”

            Truth: This statement creates a false impression that my Client has acted in a way or
            violated a rule to merit being reported. RPC 8.3 states that a lawyer who knows that
            another lawyer committed a violation of the RPC and that violation raises a substantial
            question as to that lawyer’s honesty, trustworthiness or fitness as a lawyer should report
            that lawyer’s professional misconduct. First, my Client has not violated any rules for
            which your comments suggest. Second, other immigration attorneys may not agree with
            my Client’s business practices, but my Client has not raised a “substantial question” as
            to her fitness as an attorney. She has been an exceptional resource for other attorneys
            in the field and vigorously advocates for her clients’ interests, while working within
            the limits of the law and the RPC. Finally, your “encouragement” itself, i.e., urging
            clients to fabricate false complaints her, is unethical.
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                    Defamation, Defamation Per Se, and Defamation by Implication

        The damaging statements contained within the Defamatory Statements on Facebook in the
Group are substantial. Specifically, the post contains provably false statements such as the
allegation that my Client has committed a violation in her profession that merits being reported.
By accusing my Client of conduct that targets her profession, the Defamatory Statements are
defamatory per se, and the statements harm her reputation in the minds of reasonably minded
people and are actionable at law as set forth below.

        To be clear, my Client has never engaged in any sort of the misconduct you described. As
a result of these Defamatory Statements, her reputation has suffered, and she lives in fear of her
reputation being continually harmed by the publicly harmful statements, and continual emotional
distress. If the Defamatory Statements are allowed to persist, any person, including potential
clients and others business contacts, may avoid her legal and educational services due to the natural
desire to avoid a public association with the misconduct stated, and will cause significant harm to
my Client’s professional legal practice and business as an immigration law educator. All of these
accusations and Defamatory Statements are highly defamatory and actionable by law, which I will
explain below.

                                         Defamation Elements

        The four main elements for defamation are: (i) a false and defamatory statement concerning
the plaintiff; (ii) an unprivileged publication to a third party; (iii) fault amounting at least to
negligence on the part of the publisher; and (iv) "actionability" of the statement either due to
special harm caused by the publication or irrespective of special harm given the nature of the
allegation. See Restatement (Second) of Torts § 558. Seley–Radtke v. Hosmane, 2016 WL
6871523 *1. Specifically, under Washington law, in order to prove a claim for defamation, the
plaintiff must establish: (i) falsity of the statement, (ii) an unprivileged communication to a third
party, (iii) fault on the part of the defendant, and (iv) damages. Mark v. Seattle Times, 635 P.2d
1081 (Wash. 1981).

        Written communications which are claimed to be libelous fall into one of the three classes:
(a) those which on their face and without the aid of any extrinsic matter come within the definition
above set forth, (b) those which on their face do not fall within the definition but which by reason
of special extraneous circumstances actually do, and (c) those which even though aided by the
surrounding circumstances cannot reasonably be held to fall within it.

         As noted above, the first type, Class (a), is applicable here and is called ‘defamation per
se’ because it needs no allegation or existence of extraneous surrounding circumstances to make
it such. Hearst Corp. v. Hughes, 297 Md. 112, 118, 466 A.2d 486, 489 (1983); See also Lawnwood
Medical Center, Inc. v. Sadow, 43 So.3d 710, 722 (2010) ($5 million punitive damages award
upheld where “comments constituted slander per se, comments were intended to destroy surgeon’s
career and professional reputation in community, comments would likely have significant
professional consequences, and award was legally equal and proportionate to actual harm
inflicted”). A statement is defamatory per se when the defamatory character of the statement is
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apparent on its face – and in this case, about one’s profession; that is, when the words used are of
such a nature that the court can presume as a matter of law that the communication will tend to
degrade or disgrace the party defamed.

        An allegation that impugns a person’s profession is defamation per se, and damages are
presumed. Id. My Client is an immigration attorney and makes a living providing advice to clients
who need immigration help. You even went so far as to imply my Client is charging unreasonable
fees for meritless cases, and deserves to be reported. As such, because your comments about my
Client are defamatory on their face, and are presumed to damage my Client, a reputable lawyer.

        The second type, Class (b), is a communication that is categorized as “defamation by
implication, where even literally true statements can be defamatory where they create a false
impression. See Stevens v. Iowa Newspapers, Inc., 728 N.W.2d 823, 827 (Iowa 2007)
(“Defamation by implication arises, not from what is stated, but from what is implied when a
defendant ‘(1) juxtaposes a series of facts so as to imply a defamatory connection between them,
or (2) creates a defamatory implication by omitting facts, [such that] he may be held responsible
for the defamatory implication ....’ ” (quoting W. Page Keeton et al., Prosser & Keeton on the Law
of Torts § 116, at 117 (5th ed. Supp.1988))).

        Your post contains statements that would fit under the penumbra of Class (b) statements,
specifically for example, the statements stating my Client urges clients to file VAWA cases that
are not “eligible” cases, and charges $12,000 for said cases. As such, the statement, even if literally
true, implies a defamatory statement that my Client is over-charging her clients for her services
and has no sound basis for charging that amount – all for which you may also be held liable for
damages, for these reasons.

        As stated above, in this case damages are presumed because the Defamatory Statements
directly pertain to my Client’s honesty, integrity, and profession. As a direct and proximate result
of the Defamatory Statements, my Client has sustained, and continues to sustain, immediate and
irreparable harm and injury including, but not limited to, damage to reputation, loss of expected
benefit, loss of goodwill, loss of business relations with existing and future business prospects,
loss of family life), and loss of competitive advantage, opportunity, and/or expectancy.
Furthermore, the Defamatory Statements are and would be, highly offensive to a reasonable person
and have been published to a person or persons with the intent of causing harm to the reputation
and economic interests of my Client, among many other damages described herein. Indeed, the
post is targeted towards those in the area of my Client, as evidenced by the fact that the Group is
a Facebook group of other immigration attorneys across the United States, and is aimed at causing
the most damage to her by being posted under a video connected to her name and business.

        In making and publishing the Defamatory Statements, you obviously acted maliciously,
wilfully, wantonly, and unlawfully. We’ve identified examples of your intentions behind your
Defamatory Statements, which were designed to bring harm to my Client. You had knowledge of,
or acted in, negligent and/or reckless disregard as to the falsity of the content published and the
false and negative light in which my Client would be placed. Furthermore, your actions,
omissions, and conduct outlined above were aggravated, outrageous, and guided by evil motives
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wherein they intended to harm my Client and/or consciously pursued a course of conduct knowing
that created a substantial risk of significant harm to her. As such, I believe my Client would obtain
punitive damages in any action filed against you.

                                  Burden of Proof and Other Issues

        My Client is confident that you would be unable to carry your burden of proving the truth
of any of the Defamatory Statements since she has the applicable law on her side and the video in
which the Defamatory Statements were directed. The law is very specific, and states that unless
the publication in the instant case was privileged or qualifiedly privileged, the proof of publication
of the article carried with it the presumption of its falsity and of malice toward the plaintiff and the
burden was upon the defendant to prove both the truth of the publication and a lack of malice
toward plaintiff. Furthermore, it makes no difference if the poster and commenters thought that
what they said was true, as every person is presumed to intend the natural and probable
consequences of his own act. Belief in the truth of their charges does, however, go to the heart of
punitive damages, and the jury might consider the spirit with which something was spoken in
determining whether the speaker was vicious, unreasonably thoughtless. As such, my Client would
prevail in an action against the poster and commenters as they have no qualified privilege for
making the Defamatory Statements of fact that damage my Client.

                                               Summary

        All of these Defamatory Statements either accuse my Client of not being moral, or harm
her in her profession, trade, or business. This would allow my Client to recover damages without
actual proof of loss. We would note, however, that my Client would be able to also prove the
existence of actual damages, including but not limited to emotional distress, arising from your
campaign of defamation, which is impacting her life dramatically.

       Based on the above, we respectfully request that you delete the Defamatory Statements
immediately, and within no later than 5 calendar days from the date of this letter, and refrain
from publishing such statements.

         If you do not plan to assist us voluntarily, please let us know immediately so that we can
start the litigation process in order to take action against you. In addition, we would also request
that you keep any and all records, reports, analytics, or similar that we would request (in the event
of litigation) that would be used to identify the person(s) who provided the information as well as
the identity of any other posters.

        Finally, we are aware that you may desire to publish this demand on social media in
furtherance of your defamation campaign against my Client, and in order to cause the maximum
reputational carnage as possible. In the unfortunate even that you do so, we will use your
publication as further evidence of your malicious intent in any future litigation against you.

       This letter is not meant to be a release, waiver, or admission by my Client. Thank you for
your assistance.
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                                                 Sincerely,


                                               Raees Mohamed

Enclosures: Defamatory Post
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                                       EXHIBIT A
                              YOUR DEFAMATORY STATEMENTS
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        EXHIBIT G
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                  IN THE UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF WASHINGTON – SEATTLE DIVISION

 LOZANO, et al.,                             )
                                             )
        Plaintiffs,                          ) Case No.
                                             )
 v.                                          ) Judge
                                             )
 DOE, et al.,                                ) Magistrate Judge
                                             )
        Defendants                           )


                                      PROPOSED ORDER

       Pending before this Court is the Motion of Stefania Joanne Ramos Birch Esq. to Quash

Third-Party Subpoena and for a Protective Order. (Dkt. No .___). After reviewing the Motion, the

record, and the applicable law, the Court is of the opinion that:

       ______ The Motion for a Protective Order to delay discovery pending the Motion to

Quash should be granted;

       ______ The Motion to Quash the Third-Party Subpoena should be granted;

       ______ The Motion for a Protective Order limiting discovery to the issue of Mrs. Ramos’s

personal contacts with Ohio/Plaintiff Angelyne Lisinski and excluding from discovery the phrase

“arreglar sin salir” should be granted;

       ______ The Motion for a Protective Order limiting discovery to a deposition only to

determine the extent of her knowledge regarding the defamatory campaign alleged in the

Complaint and to her knowledge of the defamers’ identities should be granted; and/or

       ______ The Motion to delay discovery for 90 days should be granted.

       It is SO ORDERED.

Signed this _______ of ________________, 2022.
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                                           _____________________________________

                                                 _______________________________
                                                 UNITED STATES DISTRICT JUDGE
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        EXHIBIT H
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                                 CERTIFICATE OF SERVICE

I hereby certify that on this 30th day of September 2022, a true and correct copy of the Motion of
Stefania Joanne Ramos Birch Esq. to Quash Third-Party Subpoena and for a Protective Order and
all attachments thereto was provided via USPS priority mail to:

        1.   Alexandra Lozano, 6720 Fort Dent Way, Suite 230, Tukwila, WA 98188;
        2.   Angelyne Lisinski, 10104 Brewster Lane Suite 100 Powell, Ohio 43065;
        3.   Giulia Fantacci, 420 Lincoln Road, Ste. 357, Miami Beach, Fl 33139; and
        4.   Counsel of record in the underlying action for the Plaintiffs in the Southern District
             of Ohio at the following address:

                       Organ Law LLP
                       1330 Dublin Road
                       Columbus, OH 43215

In addition, I provided a courtesy copy via e-mail on the same date to the e-mail address for
counsel of record listed in PACER.

                                       s// Stefania J. Ramos Birch Esq.
                                       Stefania J. Ramos Birch Esq.
                                       pro se
                                       WDW I.D. 6545469
                                       Washington Bar No. 52468
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